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            EXHIBIT F
             Part 2 of 4
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                                                                                                                        .I

Cracking The Tinder Code: Love In The Age Of Algorithms
I swapped Tinder accounts with a female co-worker. Then Tinder's data team reviewed our performance. Here's what we learned.



       Alex Kantrowitz
       BuzzFeed News Reporter
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  Alraun20 1..f / 6etty Images




  I used to be tenible at Tinder - but for a few weeks this summer, I was pretty good.
  Women responded to my messages. Our chats went deeper than usual. Previously stalled
  discussions were suddenly revived and I was light-swiped with increasing frequency. I
  began to understand my matches in a way I hadn't previously, but not because of anything
  I'd done. My Tinder messages were being composed by a woman who also set up my
  profile. And I was using Tinder's on-staff sociologist's input to refine my approach.


  I handed over my account to my colleague, Jessica Misener, on a hunch (correct) that I
  wasn't doing things right on Tinder. And while Jessica didn't really need the help, I took
  over her account as well. We embarked on our great switcheroo in an attempt to get to the
  bottom of what makes Tinder tick, customizing each other's profiles to what we thought
  people of our gender wanted, releasing those accounts into the wild, and then compaling
  the results to our past luck.


  We swapped accounts on the condition that no message could be sent without the explicit
  approval of its real owner - this was a quest to understand the inner workings of the
  platform, not dupe people. And, when we were done, we brought our findings to Tinder,
  which reviewed them and - based on its own research including some previously
  unreleased data - told us what we'd done right and wrong. Spoiler: I had a lot to learn.
  And judging from the Tinder profiles we saw, you probably do too.
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  Downloaded by more than 100 million people, Tinder is responsible for some i.5 million
  in-person dates each week, according to its creators. It's helped to normalize "meeting
  online." Tinder did this with an ingeniously simple swipe "right for like"/ "s\\-ipe left for
  dislike" vetting process, connecting people only when there is mutual interest. Its soaring
  popularity has helped revolutionize modern dating, shifting us from finding love via
  chance to finding it via algorithm.




             Wearing a hat in your Tinder profile pie?
               That'll hurt your chances by 12%.

  The secrets of Tinder's code lie in the hands of people like Jess Carbino, a Tinder
  employee with a sociology PhD from UCLA. She has a lot of insight into what works on
  Tinder and what doesn't. For instance: Wearing glasses in your profile picture, whether
  for vision or sun, decreases your chances of being iight-swiped by 15%. And a hat? That'll
  hurt your chances by 12%.


  "It's really important for people to able to glean a great deal about your face, which
  indicates things beyond attractiveness," Carbino explained in a phone interview from
  Tinder's Los Angeles headquarters last week. Tinder is willing to share a good deal of this
  data because, at the end of the day, it wants people to find satisfying matches. And, if you
  use Tinder, you probably want more matches too. So take your damn hat off. And, while
  you're at it, those shades need to go too.


  In Trusted Hands




  Stock .... colors /Getty Jn1a_ges




  Looking through the men showing up on Jessica's Tinder account, I saw many dudes
  presenting themselves with blurry pictures, mirror selfies, hats, nowhere-looking gazes,
  and other off-the-charts terrible selfies. When I saw a guy with a clear picture, smiling
  and looking toward the camera, I instantly swiped right.
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  When Jessica set up my profile, she chose a picture of me looking sideways to start, and
  then followed with a few looking straight at the camera. A week in, thinking about that
  man with the straightforward smile, I suggested we switch up my own profile. We chose a
  photo I didn't love, but where I looked straight at the camera and smiled. It worked
  significantly better than my previous profile pie.




          "Individuals who are front facing are 20%
              more likely to be swiped right on."

  The forward-facing smile was the right move, according to Tinder's Carbino. "Individuals
  who are front facing are 20% more likely to be swiped right on, relative to their
  counterparts who are facing sideways or not showing themselves," Carbino said. Even
  though I felt the smiling picture was worse than any other, it made a big difference: You
  are 14% more likely to be swiped right on if you smile on Tinder, Carbino said.


  After Jessica landed a few matches on my behalf, I watched in amazement as she crafted
  thoughtful, personalized messages to each. My opening message is perhaps best described
  as "How's it going?" Jessica describes hers as "Not just, 'Oh cool you're from North
  Carolina? I like Asheville a lot,' but: 'Oh you're from North Carolina'? I've always
  wondered if the Carolinas have a rivalry about which is better. like South Carolina is
  OBVIOUSLY cooler but North Carolina is literally on top of it, which seems significant to
  me."'


  Jessica's method proved effective. Conversations kicked off with thoughtful messages that
  were far richer than my usual "Hey," "Sup," "Nm, U?" variety. And Tinder's data seems to
  bear this out. Carbino said Tinder is conducting a messaging analysis study, and its initial
  results indicate more thoughtful messages are more likely to generate responses. You can
  also always send a GIF, which is 30% more likely to get a response, according to Carbino.


  Viewing Tinder from my colleague Jessica's vantage point, I didn't need any special
  conversational tactics. If anything, the biggest challenge was weeding people out.


  Stampede
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  XDvicr Arnau I Getty lmage.s




  Running Jessica's account felt like watching dozens of men attempting to run through the
  same tiny door at once. It was overwhelming. As I swiped right, a pattern emerged:
  Match. Match. Match. Match. Message. Message. Message. Message. These guys meant
  business. They were relentless.


  Watching them in action, I began to rethink one of my core Tinder principals: Never
  double-text. Sending a message, waiting, and sending another message despite no
  response had long been no-go territory for me. It felt needy, and a bit delusional. If
  someone was interested, they'd respond. If not, they wouldn't. But as I witnessed the
  volume and pace of messages hitting Jessica's Tinder, I very quickly saw the folly of my
  ways.


  Double-texting works, said Carbino, who calls it re-engagement. "The idea of re-
  engagement, if done in a way that's appropriate, can be quite effective," she told me. "You
  can say something along the lines of, 'Hey, it's time to step up your Tinder text game' and
  make a joke out of it to re-engage them and to try to further the conversation along in a
  way that's more meaningful."


  On Tinder, you can also use a "Super Like" button once every 24 hours to signal more
  interest than the ordinary like, but the people using this feature felt a bit off to me, so I
  started swiping left and rejecting them all out of habit. That wasn't a normal behavior.
  Super Likers, according to Tinder, are three times more likely to match, and their
  conversations typically last 70% longer than those of non-Super Likers.


  Super Like or not, you may want to go for the real-world encounter as early as possible.
  People who meet in person via Tinder typically do so within two to seven days of
  matching, according to Carbino.


  Tinder God Emerges
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  S1photogmphy i Gelly Images




  When you first sign up for Tinder, a text overlay
  appears on the app urging you to "Swipe more to                  "I always
  help us learn your preferences. The more you swipe,
  the better our recommendations!" The prompt is
                                                                   said great
  subtle, and it's also the most prominent indicator               advertising
  that Tinder sorts the profiles it shows you via an               should be
  algorithm - a mathematical formula that pulls in a
                                                                   like dating."
  number of data points and makes decisions about
  who comes next.


  The keys to Tinder's algorithm are held by Dan Gould, a former advertising technology
  executive who spent the early part of his career attempting to match the right ad to the
  right person at the right time - now he's doing it with people. That a former ad-tech exec
  now holds a power position at a dating company says a lot about the role of algorithms in
  romance today. "I always said great advertising should be like dating," Gould told me. "If
  advertising works perfectly, it would be like finding that great partner for you. It would
  find the right thing, at the right time, at the right price, and maybe something you didn't
  even know."


  According to Gould, Tinder's algorithm gives a lot of weight to the choices you make while
  setting preferences. Distance ranges, gender, and age preferences - all these things need
  to match up before Tinder will show you a potential match. Two other critical factors are
  distance and recency. Distance is straightforward: Being closer gives you an edge. But
  "active time," i.e., recency, is more intriguing. "People who have been active recently are
  more likely to come back soon and interact vvith other people." Gould said. "While I
  probably shouldn't say how you can game the system, the one thing that a person can
  really do to appear to a lot more people and get more matches is to be active recently. If I
  were trying to get more matches I would open the app every hour and just swipe a little
  bit."
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  Swipe Life




  Demaerre I Getty lrnages




  In their book Modern Romance: An Investigation, the comedian Aziz Ansari and New
  York University sociology professor Eric Klinenberg describe asking a woman to project
  her OkCupid inbox on a screen in an LA comedy club. "The moment we put her in box up
  on the screen, you could see every man in the room just deflate," Klinenberg said in a
  recent phone interview. "They suddenly realized what they were up against."


  The draw of that choice is so powerful that Seattle-based Ricky Burnett, founder of a
  company called Project Attraction, a dating coaching service that promises to help men
  "become the confident, bad ass guy that women obsess over," said he sees a lot less
  competition when trying to meet someone in real life. "I consider it to be a lost art these
  days," he said. "You kind of put people in awe when you just walk up to them and say 'hi.'"


  Proliferation of choice can have negative consequences as well. With so many potential
  matches to svvipe on, they all become a bit more ... disposable. "Go back to [the pre-Tinder]
  era," said relationship psychologist Karen Sherman. "If you didn't meet somebody in
  college then what the hell were you going to do? Because then you were pretty much out
  ofpossibilities. Now, so what?


  For Carbino, algorithmically assisted courtship is a clear net positive. "There's so much
  data out there that suggests that individuals who meet their partners online have more
  satisfactory relationships and are more likely to get married faster, relative to individuals
  who meet offline," she said.


  Klinenberg is of a similar opinion. He likes to tell a story of how he and Ansari once asked
  a "pretty average looking" guy for a look at his dating inbox. The guy, Klinenberg said, had
  messages from women who "30 years ago, if he had gone to a bar and they had given him
  their phone number, he would've gone crazy, it would've been the greatest night of his
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  life." There's a lesson in that in box: "There's a Jot of volume. Even if that guy was striking
  out 95% of the time, it's a whole lot easier to start flirting with someone and ask them out
  online, than it is in person."


  For me, the week I swapped Tinder accounts with Jessica helped answer a question I'd
  long struggled with when using the app: "What did I do wrong?" Now, I know, and
  knowledge is power.


  Now if you'll excuse me, I have some swiping to do.


  Watch the video here:

     How To Get More Matches On Tinder




                                                a

  BuzzFeedVrdeo /Vt.a youtuLJe.com



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     reports on socfal ancl cornrnunications.
     Contact Alex Kantrowitz at nlex.ki.lntrowitz@·buzzfeed.com.



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                                                                      NEXT ON NEWS>

                                                                      Dee Dee Wanted Her
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                                                                                               few debunks: Here's what went down
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                                                                                                          by Sheera Frenkel

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                                                Of Women To Protest Against Gender
                                                Violence




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                                                Court After Being Convicted Of Raping
                                                Girl




                                                Former Wells Fargo Banker Says He
                                                Was Pressured To Sign Mexicans Up
                                                For Unneeded Accounts




                                                Putin Aide Allowed To Enter Germany
                                                Despite Sanctions




                                                Jury Clears NBA Star Derrick Rose And
                                                Two Friends In Civil Rape Case
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                                                Apple To Announce New Macs At
                                                October 27 Event




                                                Mark Zuckerberg Defends Peter Thiel
                                                In Leaked Facebook Post




                                                Now Buzzing




                                                Here's Trump's Full Winding Answer On
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                                                How Unpopular !s Your Chipotle Order?




                                                13 Questions About Cheating That'll
                                                Really Make You Think




                                                Donald Trump Said Putin Isn't His BFF
                                                During The Debate And Twitter Lost I
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                                                People Are Freaking Out About Hillary
                                                Clinton's All*White Pantsuit




                                                What Historical White House Pet Are
                                                You Based On Your Zodiac Sign?




                                                The Barrier Reef's Health Has Been
                                                Given A "D" For The Fifth Year In A Row




                                                What% Wednesday Addams Are You?




                                                People Are Trolling The Hell Out Of
                                                Donald Trump After He Said "Bad
                                                Hombres"




                                                Which Mindy Lahiri Quote Perfectly
                                                Describes Your Love Life?




                                                26 Troubling Images That Prove The
                                                Last Debate Was RIGGED
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                                                                                  While You Were Watching The Debate,
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                                                                                  Women Are Reclaiming Their
                                                                                  "Nastiness" After Trump Called Clinton
                                                                                  Nasty During The Debate




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                                D LEAGUE EVENTS AND
                                    JOIN LEAGUE GROUPS
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    We got inside the 'Tinder for elites' - here's what it's
    like to use



       Save $50 on a freelancer



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   This is Amanda Bradford. She fot1nded The league with the goal of making power couples
   by matching up highly motivated single professionals.
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   Ihe l•ague's founder, Amanda Brnrlfo!<I.




   The league launched in San Francisco earlier this year, and a few months ago it launched in
   New York City, too.




   Right now the app is still in private beta in New York, but we were able to get a peek inside.




   Before you can get into The League, you have to sign up. You'll be put on a waiting list until
   you're approved ...


    -.·l]IE·~
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   Once you're finally in and load the app, hem's the first screen you see.
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   Every day, you're shown only five potential matches to whom you can say yes or no.

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   like Tinder and Hinge, you can swipe right to indicate you're interested in someone or swipe
   left if you'd like to pass. Tap the icon on the top right corner to see your matches.

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       Education
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   The league puts all your matches in one place. But unlike other dating apps, your matches
   on The league have an expiration date. If you don't respond within three weeks, your match
   will disappear. You can also sort your matches by "best match," "recent," "popular," and
   "least flaky."

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   lets you know about in-app updates.

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         Until we've fixed our load issues
         we vvon't be putting more people
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         9   into The League f j - so tell
         your wait listed                    friends it's
         not then1 its us!!

              want to encourage you to
         update 0 to the latest version
         of the app on App Store     (it's
         not automatic) - we tweaked the
         matching a!Qcxithm to increase
         match rate ·fV".';so                      should see
         rnore matches!

         That's all I got from corporate!
         Jl!mn:H::i\1P fun      and
         rernember: cool confident folks
         always make the first move ,, ..




   Users set their preferences for matches. The League's big promise is that you're only shown
   other users who fit your specific criteria, and your profile will only he shown to others that
   fit your criteria, too. That criteria, apparently, includes gender, age, height, distance,
   education, and ethnicity.

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       :::                        PREFERENCES                                        G
             Looking For                                                      Both


                          Age



                     Height



                 Distance


                 Ethnicity


               Education




   Here's Business Insider producer Sam Rega's profile. You can see where he's based (New
   York), his age and height, and his education, profession, and interests. Tap on the icon on
   the top left corner, and you'll be shown the app's menu.

    •••oo AT&T "7'                         9:55 AM                              71% !•Ji
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       Education
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   Here's Sam's profile. You can add pictures of yourself, along with as much or as little
   biographical information as you'd like.

    •OOOO AT&T 9                            9:57 AM




              Photos




          About Me

              Height                   ~;



           Ethnicity
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                     Zip

            Religion




   other users are shown where you work and your interests, too.

     ••oooAT&T 9                           9:57 AM                             70% lll[)




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           Interests




   Here's the full menu. You can look at your potential matches for the day, check out the
   people you've been matched with already, look at your own profile, and more.
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   Under "settings," you can see information like how many of your friends are on The League,
   how many VIP tickets you have (VIP tickets let you invite friends to "jump the line" and get
   into The League}, and when you joined.

    •••OO AT&T 9                                  9:55AM                       70%-]•


       =                                 SETTINGS                                   P
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   When you've exhausted the five fleople you've been shown that day, here's the message
   you're shown. You're shown a new batch of people each day at 5 p.m. Also note the blue dot
   in the upper right comer - that means you have an alert in your matches (either a new
   match or new message).

    •ocoo AT&T 9                          9:59AM                             69% !~iiiiiifJ•
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   When you match wilh someone, you can choose to chat with them, or keep swiping through
   your potential matches.
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   See the clock symbol in the upper right comer? You can use it to make a match expire, or to
   essentially unmatch someone. This is the pop-up that appears when you tap ihe clock
   symbol.




                     Are you sure you want to
                        expire this match?


                      Cancel                                     Expire




   In terms of app design, The league isn't all that different fr<>m the dating apps you're
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   and that sets it apart.

     ••oooAT&T 9                            9:59AM




            0 21days




   SEE ALSO: Here's what it lakes to join the 'Tinder for dites' »
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     FASHION & STYLE



     Hinge, a Dating App, Introduces Friends
     of Friends
     By KRISTIN TICE STUDEMAN          MARCH 28, 2014

     Mobile dating apps may be all the rage these days, but they're not for everyone.

          Blendr, a location-based app for straight people, was created by the same folks
     as Grindr and retains much of its hookup focus. And Tinder, another hugely popular
     app, puts a premium on superficial looks, as users swipe through an endless photo
     carousel of potential mates.

         What happened to finding love the old-fashioned way: through mutual friends?

         That is the premise behind Hinge, the next mobile matchmaking app that is
     catching on with urban millennials. At first glance, it looks very much like Tinder.
     But instead of random strangers, Hinge matches only users who share Facebook
     friends.

         For some, that makes the whole thing feel less creepy.

         "I've met up \Vith someone on Hinge because you have mutual friends, so you
     can be So percent sure they're not a full-on wacko," said Tibby Iz, 28, a digital
     content strategist who lives in the East Village.
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          The app was released last year by Justin McLeod, a 29-year-old tech
      entrepreneur from Louisville, Ky., and has gained momentum in recent months as it
      expands to more cities. (It is currently in seven cities: New York, Chicago,
      Washington, Boston, San Francisco, Philadelphia and Atlanta. Dallas and Los
      Angeles are next.)

           To get started, users sign in using Facebook and select their preferences,
       including location, sexual orientation and age (it caps at 35). Every day at noon, the
       app sends a list of potential matches culled from one's Facebook network.

           "I use it every day," said Melissa Ellard, 23, who runs Fashion Force, an online
       trade shmv based in Washington. "Once the clock hits noon, I can't wait to see my
       batch of potential new matches."

            "I have found that on other dating sites, such as Tinder, all men want to do is
       use cheesy pickup lines and they are looking for one-night stands," she added.

           Male users who were interviewed said that the app encourages more socially
       accountable behavior.

            "Hinge cuts through the :randomness of Tinder," said Daniel Matz, a 29-year-old
       real estate finance analyst in New York, who said he uses the app daily. "I can take
       some comfort that she knows some of the same people I do."

           Mr. McLeod said his app has made more than a million matches, including one
      that resulted in an engagement. He himself is a user, though he is not sure how to
      describe his current relationship status. "Ifs complicated," he said.

      A version of this article appears in print on March 30, 2014, on page ST17 of the New York edition with
      the headline: An App Introduces Friends of Friends.




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                     APPENDIX 10
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                                         If Tinder Is For Hookups, Hinge Is For Relationships And
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                     APPENDIX 11
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http://www. wsj.comlarticles/why-millennials-swipe-right-on-swiping-14781 87319


LIFE I IDEAS I WORD ON THE STREET

Wl1y Milleni1ials S"'ipe Right On
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A TV show capitalizes on an older generation's incomprehension




   PHOTO: /STOCK


By BEN ZIMMER
Nov. 3, 201611:35 a.m. ET



In the new CBS comedy "The Great Indoors," 20-somethings and 40-somethings face off
across a divide so stark that it can seem like the two generations are speaking entirely
different languages.
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Take this week's episode, in which the show's older protagonist Jack (played by Joel
McHale) tries to navigate the uncertain terrain of online dating, with the help of his
millennial office-mates.

Jack's crash course in using dating apps begins with the basics: "If you like someone,
swipe right. If you don't, swipe left."



For the millennial generation, the lingo of "swiping" is painfully obvious. But it didn't
even exist until 2013, when the Tinder app introduced the finger-flicking gesture into its
interface for choosing a date. When looking at the profile photo of a potential match, a
dismissive swipe to the left moves on to the next prospect, while a swipe to the right
indicates interest. And if the right-swipe is mutual, dating rituals can commence via
instant messaging.

Tinder's massive success, with users making more than a billion swipes a day, has led to
an array of other apps adopting the swipe-to-like approach. "Swiping" has even
permeated the language, with "swipe left" used as a general metaphor for rejection and
"swipe right" for acceptance and openness.

In an issue of the online magazine Rookie, editor in chief Tavi Gevinson, now 20, wrote
about the need for taking bold steps: "swipe right, be vulnerable and set ambitious
goals." And in a recent comic book, the character Deadpool says, "I'm just gonna swipe
left on this whole fight if that's cool."

Like much of the millennial lexicon, "swiping" is born out of interactions with new
communication technology. Mike Gibbons, the creator and executive producer of "The
Great Indoors," told me that the idea for the show came about when he tried to
understand the tech-driven world of the young staffers he worked with on "The Late
Late Show With James Corden," where he was the head writer.

When it comes to innovative language, Mr. Gibbons, who is in his late 40s, observed that
the churn is faster than ever before. "Even people in their late 20s may feel old, like
they're not speaking the same language as the new wave coming in," he said.

That presents a challenge when writing for "The Great Indoors," as he finds that slang
terms that are new to him-like "turnt" for "intoxicated" or "woke" for "socially
aware"-may already be considered passe among the millennial set.

"The Great Indoors" has left some critics outdoors: Earlier this week on the review
aggregator Metacritic, the show had a 51% rating. As for "swiping," it may already be on
                 Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 44 of 192


its way out. Consider the case of Hinge, once a Tinder-like app for finding dates, which
has moved away from the swiping model and now markets itself as a "relationship app."

As Hinge's FAQ page explains, "We scrapped our old app because we realized the world
of mindless swiping was ruining romance." Or as an email to users succinctly put it,
"We've swiped left on swiping."


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ATTORNEY DOCKET NO.:                                                PA TENT APPLICATION
083523.0118                                                                    141059, 192




              IN THE UNITED ST ATES PATENT AND TRADEMARK OFFICE




In re Application of:           Sean Rad et al.
Serial No.:                     14/059,192
Filing Date:                    October 21, 2013
Group Art Unit:                 2164
Examiner:                       Yuk Ting Choi
Confirmation No.:               1044
Title:                          MATCHING PROCESS SYSTEM AND METHOD



Commissioner for Patents
PO Box 1450
Alexandria, VA 22313-1450

Dear Sir:

                     DECLARATION PURSUANT TO 37 C.F.R. § 1.131

         I, the undersigned, declare and state that:

         I.    I am over the age of 21 years, of sound mind, and competent in all respects to
make this Declaration.
         2.    I am an inventor of the subject matter of the above-referenced application (the
"Application").
         3.    Prior to August 6, 2012 (the "Effective Date"), I gained a full understanding of
the subject matter of at least the current version of the claims of the Application (attached as
Exhibit A).
         4.    Attached as Exhibit B are screenshots and accompanying descriptions of a
working application developed prior to the Effective Date.          The application presented
potential matches to a candidate and could use geographic proximity to determine which
potential matches to present. The application enabled text-based communication between
two users once they both expressed approval for each other and notified the users of the

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ATTORNEY DOCKET NO.:                                                PATENT APPLICATION
083523.0118                                                                   14/059, 192




match and possibility of communicating. If one user did not express approval (or expressed
disapproval) for another user, the application would prevent communication between the
users.    The application was tested, prior to the Effective Date, to confirm that the
functionality discussed above worked.
         5.   Prior to the Effective Date, I developed code that implemented using swiping
gestures to express approval and disapproval of a potential match. Attached as Exhibit C are
portions of that source code.
         6.   All of the work in conceiving and reducing to practice the subject matter of the
current version of the claims in the Application occurred in the United States.
         7.   I hereby declare that all statements made herein of my own knowledge are true
and that all statements made on information and belief are believed to be true. Further, I
declare that these statements are made with the knowledge that willful false statements, and
the like so made, are punishable by fine or imprisonment, or both, under Section 1001, Title
18 of the United States Code, and that such willful false statements may jeopardize the
validity of the Application or any patent issuing thereon.


                                      Signed this 30th day of       January, 2017 ~.




                                      Jonathan Badeen        ?"




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              Exhibit A




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Currently Pending Claims:


    1.-22.      (Canceled)


    23. (Previously Presented) A computer implemented method of profile matching,
comprising:
    electronically receiving a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
    determining a set of potential matches for the first user in response to receiving the first
request;
    causing the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
    determining that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
    in response to determining that the first user expressed the positive preference indication
regarding the first potential match, automatically causing the graphical user interface to
display a graphical representation of a second potential match of the set of potential matches
instead of the graphical representation of the first potential match;
    determining that the second user has expressed a positive preference indication regarding
the first user after determining that the first user expressed the positive preference indication
regarding the first potential match;
   determining to enable initial communication between the first user and the second user in
response to determining that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
   in response to determining to enable initial communication between the first user and the
second user, causing the graphical user interface to display to the first user the graphical
representation of the first potential match;


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    determining that the first user expressed a negative preference indication regarding a third
potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third
potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
    preventing communication between the first user and the third user after determining that
the first user has expressed the negative preference indication regarding the third user;
    determining that the first user expressed a positive preference indication regarding a
fourth potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
    preventing communication between the first user and the fourth user after determining
that the fourth user has expressed a negative preference indication regarding the first user.


    24. (Canceled)


    25. (Previously Presented) The method of Claim 23, further comprising:
    in response to determining that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user, causing the display of a graphical notification,
on the graphical user interface of the first electronic device, that a match exists between the
first user and the second user, the graphical notification comprising a user interface control
enabling a text area to be presented to the first user.




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    26. (Previously Presented) The method of Claim 23, wherein the set of potential matches
for the first user comprises one or more potential matches that are each associated with a
geographic location within a threshold distance of a geographic location associated with the
first user, the threshold distance being a stored value.


   27. (Canceled)


   28. (Canceled)


   29. (Canceled)




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    30. (Previously Presented)      A non-transitory computer-readable medium comprising
instructions that, when executed by a processor, are configured to:
    electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
    determine a set of potential matches for the first user in response to receiving the first
request;
    cause the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
    determine that the first user expressed a positive preference indication regarding the first
potential match at least by determining that the first user performed a first swiping gesture
associated with the graphical representation of the first potential match on the graphical user
interface;
    in response to the determination that the first user expressed the positive preference
indication regarding the first potential match, automatically cause the graphical user interface
to display a graphical representation of a second potential match of the set of potential
matches instead of the graphical representation of the first potential match;
    determine that the second user has expressed a positive preference indication regarding
the first user after determining that the first user expressed the positive preference indication
regarding the first potential match;
    determine to enable initial communication between the first user and the second user in
response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
    in response to the determination to enable initial communication between the first user
and the second user, cause the graphical user interface to display to the first user the graphical
representation of the first potential match;
    determine that the first user expressed a negative preference indication regarding a third
potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third




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potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
    prevent communication between the first user and the third user after determining that the
first user has expressed the negative preference indication regarding the third user;
    determine that the first user expressed a positive preference indication regarding a fourth
potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
    prevent communication between the first user and the fourth user after determining that
the fourth user has expressed a negative preference indication regarding the first user.


    31. (Canceled)


    32. (Previously Presented)     The medium of Claim 30, further comprising instructions
configured to, in response to the determination that both the first user has expressed the
positive preference indication regarding the second user and the second user has expressed
the positive preference indication regarding the first user, cause the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling a text area to be presented to the first user.


   33. (Previously Presented) The medium of Claim 30, wherein the set of potential matches
for the first user comprises one or more potential matches that are each associated with a
geographic location within a threshold distance of a geographic location associated with the
first user, the threshold distance being a stored value.


   34. (Canceled)


   35. (Canceled)




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  36. (Canceled)




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    37. (Previously Presented) A system for profile matching, comprising:
    an interface operable to:
    electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device; and
    a processor coupled to the interface and operable to:
    determine a set of potential matches for the first user in response to receiving the first
request;
    cause the interface to display a graphical representation of a first potential match of the
set of potential matches to the first user on a graphical user interface of the first electronic
device, the first potential match corresponding to a second user;
    determine that the interface has received a positive preference indication from the first
user regarding the first potential match at least by determining that the first user performed a
first swiping gesture associated with the graphical representation of the first potential match
on the graphical user interface;
    automatically cause the interface to remove the presentation of the first potential match
from the graphical user interface in response to detecting the gesture and cause the interface
to present, on the graphical user interface, a second potential match of the set of potential
matches to the first user;
    determine that the second user has expressed a positive preference indication regarding
the first user after determining that the first user expressed the positive preference indication
regarding the first potential match; and
    determine to enable initial communication between the first user and the second user in
response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
    in response to the determination to enable initial communication between the first user
and the second user, cause the graphical user interface to display to the first user the graphical
representation of the first potential match;
   determine that the first user expressed a negative preference indication regarding a third
potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third


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potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
    prevent communication between the first user and the third user after determining that the
first user has expressed the negative preference indication regarding the third user;
    determine that the first user expressed a positive preference indication regarding a fourth
potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
    prevent communication between the first user and the fourth user after determining that
the fourth user has expressed a negative preference indication regarding the first user.


    38. (Canceled)


    39. (Previously Presented) The system of Claim 37, the processor further operable to, in
response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user, cause the display of a graphical notification, on
the graphical user interface of the first electronic device, that a match exists between the first
user and the second user, the graphical notification comprising a user interface control
enabling a text area to be presented to the first user.


    40. (Previously Presented) The system of Claim 37, wherein the set of potential matches
for the first user comprises one or more potential matches that are each associated with a
geographic location within a threshold distance of a geographic location associated with the
first user, the threshold distance being a stored value.


   41. (Canceled)


   42. (Canceled)




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  43. (Canceled)




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              Exhibit B




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                             k




   For sure ... it seems like
   we have a lot in
   common. How about
   some organic coffee?.
   know a great place!
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ATTORNEY DOCKET NO.:                           PA TENT APPLICATION
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              Exhibit C




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                                MBGameviewcontroller ABRIDGED
II
II     MBGameviewcontroller.m
II     matchbox
II
II     created by Jonathan Badeen on 616112.
II     Copyright (c) 2012 Hatch Labs. All rights reserved.
II

@implementation MBGameViewcontroller
#pragma mark - Game & cards
- (void)updateGame
{


    for (UIGestureRecognizer *gestureRecognizer in
self .currentcard.gestureRecogn1zers) {
         gestureRecognizer.enabled = gameButtonsEnabled;
       }
}

- (MBCardView *)dequeueReusablecard
{
       MBCardview *card= [self.reusablecards lastobject];
       if (!card) {
           card= [[MBCardview alloc] init];
        [card addGestureRecognizer:[[UIPanGestureRecognizer alloc]
initWithTarget:self action:@selector(cardPanned:)]];
       }   ...
       for (UIGestureRecognizer *gestureRecognizer in card.gestureRecognizers) {
           gestureRecognizer.enabled = NO;
       }

       return card;
}

- (void)cardPanned:(UIPanGestureRecognizer *)gestureRecognizer
{
       static CGPoint startLocation;
       static UIImageview *dislikeimageview;
       static UIImageview *likeimagev1ew;
       CGFloat confirmedXTranslation = 100.0;
       CGFloat minconfirmedvelocity = 2000.0;
       CGPoint translation= [gestureRecognizer translationinView:self.currentcard];
       switch (gestureRecognizer.state) {
           case UIGestureRecognizerStatePossible:
            break;
        case UIGestureRecognizerstateBegan:
            startLocation = [gestureRecognizer locationrnview:self.currentcard];
            likermageView = [[UIImageView alloc] initWithimage:[UIImage
imageNamed:@"MBLikedstamp"]];
            likeimageView.transform = CGAffineTransformMakeRotation(M_PI_4 I 2.0 *
-1);
            likeimageview.center =
CGPointMake(CGRectGetMidX(self .currentcard.bounds) - 45.0,
                                        Page 1
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                           MBGameviewcontroller ABRIDGED
CGRectGetMidY(self.currentcard.bounds) - 85.0);
          likeimageView.alpha = O;
          [self.currentcard addsubview:likeimageview];
            dislikeimageview = [[UIImageView alloc] initWithimage:[UIImage
imageNamed:@"MBNopestamp"]];
            dislikeimageview.transform = CGAffineTransformMakeRotation(M_PI_4 I 2.0
* l);
           dislikeima9eview.center =
CGPointMake(CGRectGetM1dX(self.currentcard.bounds) + 45.0,
CGRectGetMidY(self.currentcard.bounds) - 85.0);
           dislikeimageview.alpha = O;
           [self.currentcard addsubview:dislikeimageview];
             self .nextcard.hidden = NO;
         case UIGestureRecognizerstatechanged:
         {
            CGFloat rotationDirection = startLocation.y I
CGRectGetHeight(self.currentcard.bounds) < 0.5 ? 1 : -1;
            CATransform3D translationTransform =
CATransform3DMakeTranslation(translation.x, translation.y, O);
            CATransform3D rotationTransform = CATransform3DMakeRotation((M_PI '~ 2)   f:
(translation.x / 5000.0), 0, 0, rotationDirection);
            CATransform3D transform = CATransform3DConcat(translationTransform,
rotationTransform);
            self.currentcard.layer.transform =transform;
            CGFloat startstampshowx = 30.0;
            likeima9eview.alpha = (translation.x - startstampshowX) I
(confirmedXTranslat1on - startstampshowx);
            dislikeimageView.alpha = (translation.x + startstampshowX) I
(-confirmedXTranslation + startStampshowX);
         }
             break;
         case UIGestureRecognizerstateEnded:
         case UIGestureRecognizerstatecancelled:
             if (fabsf(translation.x) < confirmedXTranslation && [gestureRecognizer
velocityrnview:self.currentcard].x < minconfirmedvelocity) {
                 [UIView animateWithDuration:0.2 delay:O
options:UIViewAnimationcurveEaseout animations:A{
                      self .currentcard.transform = CGAffineTransformidentity;
                      likeimageView.alpha = O;
                      dislikeimageview.alpha = O;
                 } completion:A(BOOL finished) {
                      self .nextcard.hidden = YES;
                      [likeimageView removeFromsuperview];
                      [dislikeimageView removeFromsuperview];
                 } J;
             } else {
                 NSTimeinterval maxDuration = 0.2;
                 NSTimeinterval adjustedDuration = maxDuration;
                 [UIView animateWithDuration:adjustedDuration delay:O
options:urviewAnimationcurveEaseout animations:A{
                      CGFloat direction     1.0;
                      if (translation.x > 0) {
                     } else {
                         direction = -1.0;
                     }
                   //CGFloat rotationDirection    startLocation.y I
CGRectGetHeight(self.currentcard.bounds) < 0.5 ? -1 : l;
                   CGFloat XPOS = 400.0;
                   CGAffineTransform translationTransform
                                       Page 2
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                               MBGameviewcontroller ABRIDGED
CGAffineTransformMakeTranslation(xPos * direction, [(NSNumber
~') [self.currentcard. layer valueForKeyPath:@"transform.translation.y"] floatvalue]);
                       //CGAffineTransform rotationTransform =
CGAffi neTransformMakeRotati on ( (M_PI '~ 2) ~' (xPos I 5000. 0) '~ rota ti onoi recti on);
                       self .currentcard.transform = translationTransform;
//CGAffineTransformconcat(translationTransform, rotationTransform);
                  } completion:A(BOOL finished) {
                       [likeimageView removeFromsuperview];
                       [dislikermageview removeFromsuperview];
                    MBUser *user = self.currentcard.user;
                    [self updateGame];
                    if (translation.x < O) {
                        [[MBMatchboxAPI sharedMatchboxAPI] dislikeuser:user];
                    } else {
                        [[MBMatchboxAPI sharedMatchboxAPI] likeUser:user
completion:A(BOOL success, MBUser *user, BOOL isMatch) {
                             if (success && isMatch) {
                                 MBNewMatchviewcontroller *vc =
[[MBNewMatchviewcontroller alloc] init];
                                 vc.matcheduser = user;
                                 vc.backgroundscreenshot = [UIImage
imageWithView:self.view];
                                 [self presentviewcontroller:vc animated:NO
completion:A{
                                        }J;
                                    }
                              }J;
                          }
                    }J;
                }
                break;
            case UIGestureRecognizerstateFailed:
                break;
            default:
                break;
       }


}



@end




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                             Electronic Patent Application Fee Transmittal
 Application Number:                            14059192


 Filing Date:                                   21-0ct-2013




 Title of Invention:                            Matching Process System And Method




 First Named Inventor/Applicant Name:           Sean Rad


 Filer:                                         Roshan Suresh Mansinghani/Laurie Scott


 Attorney Docket Number:                        083523.0118


 Filed as Large Entity



Filing Fees for Utility under 35 USC 111 (a)


                                                                                                  Sub-Total in
                         Description                   Fee Code        Quantity          Amount
                                                                                                    USO($)


 Basic Filing:


 Pages:


 Claims:


 Miscellaneous-Filing:


 Petition:


 Patent-Appeals-and-Interference:


 Post-Allowance-and-Post-Issuance:


 Extension-of-Time:
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                                                                                     Sub-Total in
                      Description                Fee Code      Quantity     Amount
                                                                                       USO($)

             Extension - 3 months with $0 paid     1253           1          1400        1400



Miscellaneous:


           RCE- 2ND AND SUBSEQUENT REQUEST         1820           1          1700        1700


                                                          Total in USO($)            3100
               Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 71 of 192
                                       Electronic Acknowledgement Receipt

                          EFSID:                                28215502


                  Application Number:                            14059192


         International Application Number:

                  Confirmation Number:                           1044




                    Title of Invention:                         Matching Process System And Method




       First Named Inventor/Applicant Name:                     Sean Rad


                   Customer Number:                             5073


                           Filer:                               Roshan Suresh Mansinghani/Laurie Scott


                   Filer Authorized By:                         Roshan Suresh Mansinghani


               Attorney Docket Number:                          083523.0118


                      Receipt Date:                             31-JAN-2017


                       Filing Date:                             21-0CT-2013


                      Time Stamp:                                11:44:47


                    Application Type:                           Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                                          yes

Payment Type                                                   DA

Payment was successfully received in RAM                        $3100

RAM confirmation Number                                         0131171NTEFSVl/00010615020384

Deposit Account                                                 020384

Authorized User                                                 Laurie Scott

The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
      37 CFR 1.16 (National application filing, search, and examination fees)
      37 CFR 1.17 (Patent application and reexamination processing fees)
               Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 72 of 192
       37 CFR 1.19 (Document supply fees)

       37 CFR 1.20 (Post Issuance fees)

       37 CFR 1.21 (Miscellaneous fees and charges)




File Listing:
 Document                                                                                             File Size(Bytes}/                   Multi              Pages
                       Document Description                           File Name
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                   Request for Continued Examination        0835230118RCETrans013117.
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                                          Document Description                                                  Start                             End


                          Amendment Submitted/Entered with Filing of CPA/RCE                                        1                                 1



                                                  Claims                                                            2                                 10



                          Applicant Arguments/Remarks Made in an Amendment                                         11                                 88


Warnings:
Information:

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      3           Affidavit-Rule 131-pre-AIA (FTI) ONLY                                                                                     no                 24
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Warnings:
Information:

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      4                   Fee Worksheet (SB06)                        fee-info.pdf                                                          no                 2
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Warnings:
Information:
                                                             Total Files Size (in bytes)                                          11150760
             Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 73 of 192
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1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
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New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
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                                                                                                                                                      PTO/AIA/14 (12-13)
                                                                                                                    Approved for use through 01/31/2014. OMS 0651-0032
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                                                                       Attorney Docket Number                  .e:Peli'1'1 01<1& 083523.0118
  Application Data Sheet 37 CFR 1. 76
                                                                       Application Number                       14/059,192
  Title of Invention          Matching Process System And Method

  The application data sheet is part of the provisional or nonprovisional application for which it is being submitted. The following form contains the
  bibliographic data arranged in a format specified by the United States Patent and Trademark Office as outlined in 37 CFR 1.76.
  This document may be completed electronically and submitted to the Office in electronic format using the Electronic Filing System (EFS) or the
  document may be printed and included in a paper filed application.


Secrecy Order 37 CFR 5.2
  D Portions or all of the application associated with this Application Data Sheet may fall under a Secrecy Order pursuant to
        37 CFR 5.2 (Paper filers only. Applications that fall under Secrecy Order may not be filed electronically.)

Inventor Information:
 Inventor  1                                                                                                                    I Remove I
 Legal Name

  Prefix Given Name                                              Middle Name                                   Family Name                                        Suffix

            Sean                                                                                               Rad
  Residence Information (Select One)                       @ US Residency              0      Non US Residency  0 Active US Military Service
 City       Los Angeles
                                                        I State/Province I CA                  I Country of Residencd I us

Mailing Address of Inventor:

 Address 1                                2341 Weybridge Lane

 Address 2
 City             I Los Angeles                                                            I State/Province               I CA
 Postal Code                          I 90077                                      I Countryi              1   us
 Inventor  2                                                                                                                    I Remove I
 Legal Name

 Prefix Given Name                                              Middle Name                                    Family Name                                        Suffix

           Todd                                                  M.                                            Carrico
  Residence Information (Select One)                       @ US Residency              0     Non US Residency             0 Active US Military Service
 City       Melissa                                     I State/Province I TX                  J   Country of Residencd               J   US


Mailing Address of Inventor:

 Address 1                                2 Shadywood Lane

 Address 2
 City             I Melissa                                                                I State/Province               I TX
 Postal Code                          1   75454                                    I Countryi              1   us
 Inventor  3                                                                                                                    I Remove I
 Legal Name

 Prefix Given Name                                              Middle Name                                    Family Name                                        Suffix
           Kenneth                                               B.                                            Hoskins
  Residence Information (Select One)                      @ US Residency               0     Non US Residency             0 Active US Military Service
EFS Web 2.2.11
                 Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 75 of 192
                                                                                                                                                          PTO/AIA/14 (12-13)
                                                                                                                     Approved for use through 01/31/2014. OMB 0651-0032
                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                                                      Attorney Docket Number                   078866.9146 083523.0118
 Application Data Sheet 37 CFR 1. 76
                                                                       Application Number                      14/059,192
 Title of Invention        I Matching Process System And Method
 City    I Plano                                        I State/Province / TX                  I Country of Residencd I us
Mailing Address of Inventor:

 Address 1                              2817 Chancellor Drive
 Address 2
 City              I Plano                                                                  I State/Province              I TX
 Postal Code                             75074
                                                                                   I   Country i           I us
 Inventor 4                                                                                                                     I Remove I
 Legal Name

 Prefix Given Name                                               Middle Name                                   Family Name                                        Suffix
           James                                                 C.                                            Stone
  Residence Information (Select One) @ US Residency                                     0     Non US Residency            0 Active US Military Service
 City      Addison                                      j State/Province            / TX       / Country of Residencd                 / US


Mailing Address of Inventor:

 Address 1                              15826 Breedlove
 Address 2
 City             I Addison                                                                 I State/Province              I TX
 Postal Code                             75001                                     I Countryi              I us
Inventor 5                                                                                                                      I   Remove
                                                                                                                                                I
Legal Name

 Prefix Given Name                                              Middle Name                                   Family Name                                         Suffix
           Jonathan                                                                                            Badeen
 Residence Information (Select One) @ US Residency                                     0     Non US Residency             0 Active US Military Service
 City      North Holl~wood
                                                        I State/Province 1~ I Country of Residencd / .!l§.
Mailing Address of Inventor:

 Address 1                              11201 Otse90 St. #400
 Address 2
 City             I North Hollywood                                                         / State/Province              /..£6..
 Postal Code                             91601                                    I Countryi              1   us
 All Inventors Must Be Listed - Additional Inventor Information blocks may be
 generated within this form by selecting the Add button.                                                                                 I Add I
Correspondence Information:
 Enter either Customer Number or complete the Correspondence Information section below.
 For further information see 37 CFR 1.33(a).

D An Address is being provided for the correspondence Information of this application.
EFS Web 2.2.11
                 Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 76 of 192
                                                                                                                                                          PTO/AIA/14 (12-13)
                                                                                                                     Approved for use through 01/31/2014. OMS 0651-0032
                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                                                       Attorney Docket Number                  S?G533.e14e 083523.0118
 Application Data Sheet 37 CFR 1. 76
                                                                       Application Number                     14/059,192

 Title of Invention           Matching Process System And Method



 Customer Number                            05073

 Email Address                              PTOmail1@bakerbotts.com
                                                                                                                       I       Add Email             IRemove Email I
Application Information:
 Title of the Invention                     Matching Process System And Method

 Attorney Docket Number                     9?6533.9~ 46    083523.0118
                                                                                           I Small Entity Status Claimed D
 Application Type                           Nonprovisional

 Subject Matter                             Utility

 Total Number of Drawing Sheets (if any)                           I 11                      I Suggested Figure for Publication (if any) I
Filing By Reference :
Only complete this section when filing an application by reference under 35 U.S.C. 111 (c) and 37 CFR 1.57(a). Do not complete this section if
application papers including a specification and any drawings are being filed. Any domestic benefit or foreign priority information must be
provided in the appropriate section(s) below (i.e., "Domestic Benefit/National Stage Information" and "Foreign Priority Information"),

For the purposes of a filing date under 37 CFR 1.53(b), the description and any drawings of the present application are replaced by this
reference to the previously filed application, subject to conditions and requirements of 37 CFR 1.57(a).
                                                                                                                                                                         i-
 Application number of the previously                    Filing date (YYYY-MM-DD)                                     Intellectual Property Authority or Country
  filed application




 Publication Information:
 D     Request Early Publication (Fee required at time of Request 37 CFR 1.219)

       Request Not to Publish. I hereby request that the attached application not be published under
       35 U.S.C. 122(b) and certify that the invention disclosed in the attached application has not and will not be the
D      subject of an application filed in another country, or under a multilateral international agreement, that requires
       publication at eighteen months after filing.




Representative Information:
 Representative information should be provided for all practitioners having a power of attorney in the application. Providing
 this information in the Application Data Sheet does not constitute a power of attorney in the application (see 37 CFR 1.32).
 Either enter Customer Number or complete the Representative Name section below. If both sections are completed the customer
 Number will be used for the Representative Information during processing.




 Please Select One:                   (!)     Customer Number             / 0 US Patent Practitioner 10 Limited Recognition (37 CFR 11.9)
 Customer Number                      05073




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                  Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 77 of 192
                                                                                                                                                          PTO/AIA/14 (12-13)
                                                                                                                     Approved for use through 01/31/2014. OMB 0651-0032
                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                                                       Attorney Docket Number                  Q*Wlii'i'i Q1 <l'ii 083523.0118
 Application Data Sheet 37 CFR 1. 76
                                                                       Application Number                     14/059,192
 Title of Invention           Matching Process System And Method



Domestic Benefit/National Stage Information:
This section allows for the applicant to either claim benefit under 35 U.S.C. 119(e), 120, 121, or 365(c) or indicate National Stage
entry from a PCT application. Providing this information in the application data sheet constitutes the specific reference required
by 35 U.S.C. 119(e) or 120, and 37 CFR 1.78.
When referring to the current application, please leave the application number blank.

    Prior Application Status                                                                                                             I Remove I
      Application Number                             Continuity Type                     Prior Application Number                  Filing Date (YYYY-MM-DD)
                                         Claims benefit of provisional                  61/793866                               2013-03-15

    Prior Application Status                                                                                                             I Remove I
      Application Number                            Continuity Type                      Prior Application Number                 Filing Date (YYYY-MM-DD)
                                         Continuation in part of                        12/339301                               2008-12-19

 Additional Domestic Benefit/National Stage Data may be generated within this form
 by selecting the Add button.

Foreign Priority Information:
This section allows for the applicant to claim priority to a foreign application. Providing this information in the application data sheet
constitutes the claim for priority as required by 35 U.S.C. 119(b) and 37 CFR 1.5.5(d). When priority is claimed to a foreign application
that is eligible for retrieval under the priority document exchange program (POX) 1 the information will be used by the Office to
automatically attempt retrieval pursuant to 37 CFR 1.55(h)(1) and (2). Under the POX program, applicant bears the ultimate
responsibility for ensuring that a copy of the foreign application is received by the Office from the participating foreign intellectual
property office, or a certified copy of the foreign priority application is filed, within the time period specified in 37 CFR 1.55(g)(1 ).

                                                                                                                                         I Remove I
     Application Number                                Countryi                   Filing Date (YYYY-MM-DD)                         Access Codei (if applicable)


 Additional Foreign Priority Data may be generated within this form by selecting the
 Add button.




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                  Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 78 of 192
                                                                                                                                                          PTO/AIA/14 (12-13)
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                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                                                       Attorney Docket Number                  978888.91 H3 083523.0118
 Application Data Sheet 37 CFR 1. 76
                                                                       Application Number                      14/059,192
 Title of Invention           Matching Process System And Method




Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition
Applications

      This application (1) claims priority to or the benefit of an application filed before March 16, 2013 and (2) also
      contains, or contained at any time, a claim to a claimed invention that has an effective filing date on or after March
 [gJ 16,2013.
      NOTE: By providing this statement under 37 CFR 1.55 or 1.78, this application, with a filing date on or after March
      16, 2013, will be examined under the first inventor to file provisions of the AIA.




Authorization to Permit Access:
[gJ   Authorization to Permit Access to the Instant Application by the Participating Offices
If checked, the undersigned hereby grants the USPTO authority to provide the European Patent Office (EPO),
the Japan Patent Office (JPO), the Korean Intellectual Property Office (KIPO), the World Intellectual Property Office (WIPO),
and any other intellectual property offices in which a foreign application claiming priority to the instant patent application
is filed access to the instant patent application. See 37 CFR 1.14(c) and (h). This box should not be checked if the applicant
does not wish the EPO, JPO, KIPO, WIPO, or other intellectual property office in which a foreign application claiming priority
to the instant patent application is filed to have access to the instant patent application.

In accordance with 37 CFR 1.14(h)(3), access will be provided to a copy of the instant patent application with respect
to: 1) the instant patent application-as-filed; 2) any foreign application to which the instant patent application
claims priority under 35 U.S.C. 119(a)-(d) if a copy of the foreign application that satisfies the certified copy requirement of
37 CFR 1.55 has been filed in the instant patent application; and 3) any U.S. application-as-filed from which benefit is
sought in the instant patent application.

In accordance with 37 CFR 1.14(c), access may be provided to information concerning the date of filing this Authorization.




Applicant Information:

 Providing assignment information in this section does not substitute for compliance with any requirement of part 3 of Title 37 of CFR
 to have an assignment recorded by the Office.




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                 Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 79 of 192
                                                                                                                                                          PTO/AIA/14 (12-13)
                                                                                                                     Approved for use through 01/31/2014. OMB 0651-0032
                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                 Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number.

                                                                       Attorney Docket Number                  07ee2:ui1 H1 083523.0118
  Application Data Sheet 37 CFR 1. 76
                                                                      Application Number                       14/059,192
  Title of Invention          Matching Process System And Method



  Applicant        1
If the applicant is the inventor (or the remaining joint inventor or inventors under 37 CFR 1.45), this section should not be completed.
The information to be provided in this section is the name and address of the legal representative who is the applicant under 37 CFR
1.43; or the name and address of the assignee, person to whom the inventor is under an obligation to assign the invention, or person
who otherwise shows sufficient proprietary interest in the matter who is the applicant under 37 CFR 1.46. If the applicant is an
applicant under 37 CFR 1.46 (assignee, person to whom the inventor is obligated to assign, or person who otherwise shows sufficient
proprietary interest) together with one or more joint inventors, then the joint inventor or inventors who are also the applicant should be
identified in this section.
                                                                                                                      Clear
                                                                                                                                           I             I
(!) Assignee                                     lo       Legal Representative under 35 U.S.C. 117
                                                                                                                            lo       Joint Inventor

0    Person to whom the inventor is obligated to assign.
                                                                                         Jo        Person who shows sufficient proprietary interest

If applicant is the legal representative, indicate the authority to file the patent application, the inventor is:


                                                                                                                               I
                                                                                                                                                                          I
Name of the Deceased or Legally Incapacitated Inventor                           :I
 If the Applicant is an Organization check here.                           ~
 Organization Name
                                 I TINDER, INC.
 Mailing Address Information For Applicant:
 Address 1                               8833 W. Sunset Blvd., 4th Floor

 Address 2

 City                                    West Hollywood                                    State/Province                 CA

 Country'      I US                                                                        Postal Code                    90069

 Phone Number                                                                              Fax Number

 Email Address


Additional Applicant Data may be generated within this form by selecting the Add button.




Assignee Information including Non-Applicant Assignee Information:

Providing assignment information in this section does not subsitute for compliance with any requirement of part 3 of Title 37 of CFR to
have an assignment recorded by the Office.


  Assignee          1
Complete this section if assignee information, including non-applicant assignee information, is desired to be included on the patent
application publication . An assignee-applicant identified in the "Applicant Information" section will appear on the patent application
publication as an applicant. For an assignee-applicant, complete this section only if identification as an assignee is also desired on the
patent application publication.


 If the Assignee or Non-Applicant Assignee is an Organization check here.                                                                   D
EFS Web 2.2.11
                 Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 80 of 192
                                                                                                                                                          PTO/AIA/14 (12-13)
                                                                                                                     Approved for use through 01/31/2014. OMB 0651-0032
                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                 Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number.

                                                                      Attorney Docket Number                   O:Zfl!;iJJ f.ll.::16 083523.0118
 Application Data Sheet 37 CFR 1. 76
                                                                      Application Number                      14/059,192
 Title of Invention           Matching Process System And Method



 Prefix                              Given Name                         Middle Name                        Family Name                       Suffix



Mailing Address Information For Assignee including Non-Applicant Assignee:

 Address 1

 Address 2
 City                                                                                      State/Province
                                      I
 Countryi
                     I                                                                     Postal Code

 Phone Number                                                                              Fax Number

 Email Address

Additional Assignee or Non-Applicant Assignee Data may be generated within this form by
selecting the Add button.


Signature:
 NOTE: This form must be signed in accordance with 37 CFR 1.33. See 37 CFR 1.4 for signature requirements and
 certifications.

 Signature
                         /---'-~'                                                                              Date (YYYY-MM-DD)                ,;2 ()/(c . /) -t) c.f
 First Name           Roshan S.                 J   Last Name        / Mansinghani                             Registration Number               62429

 Additional Signature may be generated within this form by selecting the Add button.


 This collection of information is required by 37 CFR 1.76. The information is required to obtain or retain a benefit by the public which
 is to file (and by the USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This
 collection is estimated to take 23 minutes to complete, including gathering, preparing, and submitting the completed application data
 sheet form to the US PTO. Time will vary depending upon the individual case. Any comments on the amount of time you require to
 complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and
 Trademark Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR
 COMPLETED FORMS TO THIS ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.




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                                                           Privacy Act Statement




  The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your submission of the attached form related to
  a patent application or patent. Accordingly, pursuant to the requirements of the Act, please be advised that: (1) the general authority for the collection
  of this information is 35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which the information is
  used by the U.S. Patent and Trademark Office is to process and/or examine your submission related to a patent application or patent. If you do not
  furnish the requested information, the U.S. Patent and Trademark Office may not be able to process and/or examine your submission, which may
  result in termination of proceedings or abandonment of the application or expiration of the patent.

  The information provided by you in this form will be subject to the following routine uses:

       1.        The information on this form will be treated confidentially to the extent allowed under the Freedom of Information Act (5 U.S.C. 552)
            and the Privacy Act (5 U.S.C. 552a). Records from this system of records may be disclosed to the Department of Justice to determine
            whether the Freedom of Information Act requires disclosure of these records.

  2.       A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence to a court, magistrate, or
       administrative tribunal, including disclosures to opposing counsel in the course of settlement negotiations.

       3.         A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a request involving an
            individual, to whom the record pertains, when the individual has requested assistance from the Member with respect to the subject matter of
            the record.

       4.        A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having need for the information in
            order to perform a contract. Recipients of information shall be required to comply with the requirements of the Privacy Act of 1974, as
            amended, pursuant to 5 U.S.C. 552a(m).

       5.        A record related to an International Application filed under the Patent Cooperation Treaty in this system of records may be disclosed,
            as a routine use, to the International Bureau of the World Intellectual Property Organization, pursuant to the Patent Cooperation Treaty.

       6.        A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of National Security
            review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).

       7.        A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services, or his/her designee,
            during an inspection of records conducted by GSA as part of that agency's responsibility to recommend improvements in records
            management practices and programs, under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the
            GSA regulations governing inspection of records for this purpose, and any other relevant (i.e., GSA or Commerce) directive. Such
            disclosure shall not be used to make determinations about individuals.

       8.        A record from this system of records may be disclosed, as a routine use, to the public after either publication of the application pursuan
            to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record may be disclosed, subject to the limitations of 37
            CFR 1.14, as a routine use, to the public if the record was filed in an application which became abandoned or in which the proceedings were
            terminated and which application is referenced by either a published application, an application open to public inspections or an issued
            patent.

       9.      A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law enforcement agency, if the
            USPTO becomes aware of a violation or potential violation of law or regulation.




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Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 82 of 192



   AT1'0RNEY DOCKET NO.                                                      DECLARATION AND
   083523.0118                                                             POWER OF ATTORNEY




                          DECLARATION AND POWER OF ATTORNEY


            As a below named inventor, I hereby declare:
            that my residence and post office address, are as stated below next to my name;
            that I believe I am the original and sole inventor (if only one name is listed below) or
  an original and joint inventor (if plural names are listed below) of the subject matter which is
  claimed and for which a patent is sought on the invention, design or discovery in an
  application entitled MATCHING PROCESS SYSTEM AND METHOD, of which (check
  one):
                   _ _ is attached hereto; or

                   _:{_was filed on October 21, 2013 as Application Serial No. 14/059,192;
            that I have reviewed and understand the contents of the above-identified specification,
  including the claims, as amended by any amendment referred to above;
            that I acknowledge the duty to disclose to the U.S. Pate11t and Trademark Office all
  information known to me to be material to patentability as defined in 37 C.P.R. § 1.56; ·and
            that I have made or authorized to be made the application for the above entitled
  invention, design, or discovery.


            I hereby appoint:

                   Practitioners at Customer Number 05073

  all of the firm of BAKER BOTIS L.L.P., my attorneys with full power of substitution and
  revocation, to prosecute this application and to transact all business in the United States
  Patent and Trademark Office connected therewith, and to file and prosecute any international
 patent applications filed thereon before any international authorities.


            Send Conespondence To:                              Direct Telephone Calls To:
            Chad C. Walters                                     Chad C. Walters
            Customer Number 05073                               at 214.953.6511




 30725831
Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 83 of 192




   ATTORNEY DOCKET NO.                                                    DECLARATION AND
   083523.0118                                                          POWER OF ATTORNEY

                                                  2


            I hereby declare that all statements made herein of my own knowledge are true and
  that all statements made on information and belief are believed to be true; and further that
  these statements were made with the knowledge that willful false statements and the like so
  made are punishable by fine or imprisonment of not more than five years, or both, under
  Section 1001 of Title 18 of the United States Code, and that such willful false statements may
  jeopardize the validity of the application or any patent issuing thereon.




 30725831
Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 84 of 192



   ATTORNEY DOCKET NO.                                       DECLARATION AND
   083523.0118                                             POWER OF AITORNEY

                                     3



  Title of Invention: ·      MATCHING PROCESS SYSTEM AND METHOD

  Full name of inventor:     Jonathan Badeen


  Inventor's signature:
  Date:


  Residence (City, State):   North Hollywood, California
  Post Office Address:       11201 Otsego St. #400
                             North Hollywood, California 91601




 30725831
              Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 85 of 192
                                    Electronic Acknowledgement Receipt

                       EFSID:                      27740805


                 Application Number:               14059192


          International Application Number:

                Confirmation Number:               1044




                  Title of Invention:              Matching Process System And Method




         First Named Inventor/Applicant Name:      Sean Rad


                  Customer Number:                 5073


                         Filer:                    Roshan Suresh Mansinghani/Laurie Scott


                 Filer Authorized By:              Roshan Suresh Mansinghani


              Attorney Docket Number:             083523.0118


                    Receipt Date:                 09-DEC-2016


                     Filing Date:                  21-0CT-2013


                     Time Stamp:                  08:50:03


                  Application Type:                Utility under 35 USC 111 (a)


Payment information:
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File Listing:
 Document                                                                              File Size(Bytes}/                 Multi         Pages
                     Document Description                 File Name
  Number                                                                               Message Digest                   Part /.zip   (if appl.)

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Warnings:
                Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 86 of 192
Information:

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       2                 Oath or Declaration filed   0835230118Decl 120916.PDF                                                 no   3
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Post Card, as described in MPEP 503.

New Agglications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Agglication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Agglication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 87 of 192
                    UNITED STA TES p ATENT AND TRADEMARK OFFICE
                                                                              UNITED STATES DEPARTMENT OF COMMERCE
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       14/059,192               10/21/2013                  Sean Rad              083523.0118                         1044

       5073             7590             12/07/2016
                                                                                                   EXAMINER
       BAKER BOTTS L.L.P.
       2001 ROSS AVENUE                                                                         CHOI, YUK TING

       SUITE 600
       DALLAS, TX 75201-2980                                                       ART UNIT                      PAPER NUMBER

                                                                                      2153


                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                   12/07/2016                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address( es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
                 Case 6:21-cv-00147-ADA DocumentUNITED
                                                 15-8 Filed 04/22/21 Page 88 of 192
                                                       STATES DEPARTMENT OF COMMERCE
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   APPLICATION NO./            FILING DATE                FIRST NAMED INVENTOR I                            AHORNEY DOCKET NO.
   CONTROL NO.                                            PATENT IN REEXAMINATION
    14/059,192                  21 October, 2013             RADET AL.                                         083523.0118

                                                                                                            EXAMINER
   BAKER BOTTS L.L.P.
                                                                                                         YUK TING CHOI
   2001 ROSS AVENUE
   SUITE 600
   DALLAS, TX 75201-2980                                                                      ART UNIT          PAPER

                                                                                             2153               20161203


                                                                                             DATE MAILED:




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  proceeding.



                                                                                                     Commissioner for Patents

This communication is generated to reply to the Affidavit traversing rejections filed on 11/09/2016. The Examiner has reviewed and
considered the objective evidence Applicant has filed to demonstrate that the claims are not obvious. After careful examination, also
consulted with a specialist and my supervisor, the Examiner found that the evident does not provide a proper nexus between the
claimed invention and commercial success. See MPEP 716.03(a). Objective evidence of nonobviousness including commercial
success must be commensurate in scope with the claims.
 First the independent claim 23 recites "performing a first swiping gesture" and determining a positive or negative preference. The
evidence Applicant provided, however, is about specifically swiping left and right.
Secondly, MPEP 716.06 indicates " ... more than the mere fact of copying is necessary to make that action significant because
copying may be attributable to other factors such as a lack of concern for patent property or contempt for the patentee's ability to
enforce the patent. [ ... ] Evidence of copying was persuasive of nonobviousness when an alleged infringer tried for a substantial length
of time to design a product or process similar to the claimed invention, but failed and then copied the claimed invention instead. [ ... ]
copying is not persuasive of nonobviousness when the copy is not identical to the claimed product, and the other manufacturer had not
expended great effort to develop its own solution."
Finally, the articles in question represent the opinions of journalists, and have neither the weight of factual evidence nor expert
opinion.

For these reasons, the obviousness rejection of the claims are maintained. The Final Office action mailed on 08/29/2016 is still
maintained.




                                                                       /YUK TING CHOI/
                                                                       Primary Examiner, Art Unit 2153



PT0-90C (Rev.04-03)
                Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 89 of 192
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       14/059,192               10/21/2013                  Sean Rad              083523.0118                         1044

       5073             7590             11/09/2016
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       BAKER BOTTS L.L.P.
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       SUITE 600
       DALLAS, TX 75201-2980                                                       ART UNIT                      PAPER NUMBER

                                                                                      2153


                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                   11/09/2016                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address( es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
                 Case 6:21-cv-00147-ADA Document      15-8
                                            Application No. Filed 04/22/21    Page 90 of 192
                                                                         Applicant(s)
                Advisory Action             141059, 192                  RAD ET AL.
       Before the Filing of an Appeal Brief Examiner                     Art Unit     AIA (First Inventor to File) Status        I
                                                                        YUK TING CHOI                             2153               No

                     --The MAILING DATE of this communication appears on the cover sheet with the correspondence address --
 THE REPLY FILED 31 October 2016 FAILS TO PLACE THIS APPLICATION IN CONDITION FOR ALLOWANCE.
 NO NOTICE OF APPEAL FILED
 1. 1:8:1 The reply was filed after a final rejection. No Notice of Appeal has been filed. To avoid abandonment of this application, applicant must timely file one
          of the following replies: (1) an amendment, affidavit, or other evidence, which places the application in condition for allowance;
          (2) a Notice of Appeal (with appeal fee) in compliance with 37 CFR 41.31; or (3) a Request for Continued Examination (RCE) in compliance with 37
          CFR 1.114 if this is a utility or plant application. Note that RCEs are not permitted in design applications. The reply must be filed within one of the
          following time periods:
    a)    D    The period for reply expires _ _ months from the mailing date of the final rejection.
    b) [gl The period for reply expires on: (1) the mailing date of this Advisory Action; or (2) the date set forth in the final rejection, whichever is later.     In
               no event, however, will the statutory period for reply expire later than SIX MONTHS from the mailing date of the final rejection.
    c)    D      A prior Advisory Action was mailed more than 3 months after the mailing date of the final rejection in response to a first after-final reply filed
               within 2 months of the mailing date of the final rejection. The current period for reply expires        months from the mailing date of
                the prior Advisory Action or SIX MONTHS from the mailing date of the final rejection, whichever is earlier.
                       Examiner Note: If box 1 is checked, check either box (a), (b) or (c). ONLY CHECK BOX (b) WHEN THIS ADVISORY ACTION IS THE
                       FIRST RESPONSE TO APPLICANT'S FIRST AFTER-FINAL REPLY WHICH WAS FILED WITHIN TWO MONTHS OF THE FINAL
                       REJECTION. ONLY CHECK BOX (c) IN THE LIMITED SITUATION SET FORTH UNDER BOX (c). See MPEP 706.07(f).
 Extensions of time may be obtained under 37 CFR 1.136(a). The date on which the petition under 37 CFR 1.136(a) and the appropriate extension
 fee have been filed is the date for purposes of determining the period of extension and the corresponding amount of the fee. The appropriate
 extension fee under 37 CFR 1.17(a) is calculated from: (1) the expiration date of the shortened statutory period for reply originally set in the final
 Office action; or (2) as set forth in (b) or (c) above, if checked. Any reply received by the Office later than three months after the mailing date of the
 final rejection, even if timely filed, may reduce any earned patent term adjustment. See 37 CFR 1.704(b).
 NOTICE OF APPEAL
 2.   D   The Notice of Appeal was filed on _ _ . A brief in compliance with 37 CFR 41.37 must be filed within two months of the date of filing the
          Notice of Appeal (37 CFR 41.37(a)), or any extension thereof (37 CFR 41.37(e)), to avoid dismissal of the appeal. Since a Notice of Appeal
          has been filed, any reply must be filed within the time period set forth in 37 CFR 41.37(a).
 AMENDMENTS
 3.   D The proposed amendments filed after a final rejection, but prior to the date of filing a brief, will not be entered because
        a) D They raise new issues that would require further consideration and/or search (see NOTE below);
        b) D They raise the issue of new matter (see NOTE below);
        c) D They are not deemed to place the application in better form for appeal by materially reducing or simplifying the issues for
                  appeal; and/or
          d)   D They present additional claims without canceling a corresponding number of finally rejected claims.
                   NOTE: _ _ . (See 37 CFR 1.116 and 41.33(a)).
 4.   D The amendments are not in compliance with 37 CFR 1.121. See attached Notice of Non-Compliant Amendment (PTOL-324).
 5.   D Applicant's reply has overcome the following rejection(s): _ _ .
 6.   D Newly proposed or amended claim(s) _ _ would be allowable if submitted in a separate, timely filed amendment canceling the non-
          allowable claim(s).
 7. 1:8:1 For purposes of appeal, the proposed amendment(s): (a) D will not be entered, or (b) 1:8:1 will be entered, and an explanation of how the
          new or amended claims would be rejected is provided below or appended.
 AFFIDAVIT OR OTHER EVIDENCE
 8.   D A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _.
9. D The affidavit or other evidence filed after final action, but before or on the date of filing a Notice of Appeal will not be entered because
          applicant failed to provide a showing of good and sufficient reasons why the affidavit or other evidence is necessary and was not earlier
          presented. See 37 CFR 1.116(e).
 1O. D The affidavit or other evidence filed after the date of filing the Notice of Appeal, but prior to the date of filing a brief, will not be entered
          because the affidavit or other evidence failed to overcome g!! rejections under appeal and/or appellant fails to provide a showing of good and
          sufficient reasons why it is necessary and was not earlier presented. See 37 CFR 41.33(d)(1 ).
 11. D The affidavit or other evidence is entered. An explanation of the status of the claims after entry is below or attached.
 REQUEST FOR RECONSIDERATION/OTHER
 12. 1:8:1 The request for reconsideration has been considered but does NOT place the application in condition for allowance because:
            See Continuation Sheet.
 13. D Note the attached Information Disclosure Statement(s). (PTO/SB/08) Paper No(s). _ _
 14. D Other: _ _ .
STATUS OF CLAIMS
 15. The status of the claim(s) is (or will be) as follows:
     Claim(s) allowed:
     Claim(s) objected to:
     Claim(s) rejected: 23,25,26,30,32,33,37,39 and 40.
    Claim(s) withdrawn from consideration:

                                                                                 /YUK TING CHOI/
                                                                            I Primary Examiner, Art Unit 2153
U.S. Patent and Trademark Office
PTOL-303 (Rev. 08·2013)                         Advisory Action Before the Filing of an Appeal Brief                                 Part of Paper No. 20161104
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Continuation Sheet (PTOL-303)                                                                                    Application No. 14/059, 192




   Continuation of 12. does NOT place the application in condition for allowance because: This office action is in response to applicant's
  communication filed on 10/31/2016 in response to Final office action mailed on 08/29/2016. No claims are amended, canceled or added or
  canceled. Claims 23, 25, 26, 30, 32, 33, 37, 39 and 40 are pending in the application.


  Applicant's argument with respect to claims 23, 30 and 37 states as "Janssens teaches away from determining to enable initial
  communication between the first user and the second user in response to determining that both the first user has expressed the positive
  preference indication regarding the second user and the second user has expressed the positive preference indicating regarding the first
  user".
  In response to Applicant's argument, the Examiner has stated in the previous office action mailed on 08/29/2016 that the Janseens
  reference explicitly teach "enabling communication between the first user and the second user in response to determining that both the first
  user has expressed the positive preference indication regarding the second user and the second user has expressed the positive
  preference indicating regarding the first user" when the Janssens reference explicitly teach a bidirectional interaction or communication is
  created or enabled when two users indicate a "like" for the other. Both users can enable communication such as adding each other on
  their contact lists and/or they can sent a notification message, sound, graphic or the like (See Janseens, para. [0053], para. [0064] and
  para. [0065] and para. [0094]). For instance, if user A "likes" user B, user B likes user A back, a link is created. User A and user B can
  communicate with each other by adding each other to the contact list and the system would send a message to both users saying "you
  both link" (See Janseens para. [0094] and para. [0095]). User A and user B can start a bidirectional interaction or communication after both
  of them received a message "you both link". However, the Janssens reference does not explicitly states whether the enabled
  communication is the first or the initial communication for the first and the second user after the system has determined that both users
  have expressed their positive preferences (e.g. the enabled communication can be the first communication or not the first communication)
  and only relied on the Benschop reference to teach enabling an initial communication between the first and the second user in response to
  determining that both users have expressed interest or approvals (See Benschop, para. [0060]). The Benschop reference discloses an
  approval module allows to establish or exchange a communication between a sender and an addressee only if both the sender and the
  addressee have signaled approval for the communication. Thus, it is reasonable for one of ordinary skill in the art at the time of invention
  was made to modify the enabling communication module of the Janseens's system to include an approval module, as taught by Benschop
  to filter out unwanted messages do not have mutual approval of establishing a communication (See Benschop, para. [0060] and abstract).
  Applicant further argues that the Janssens reference disclose that users can communicate with each other prior to the "linking' as stated in
  paragraphs of 52-53 of Janssens. In response to Applicant's argument, the Examiner disagrees because in view of the Janseens
  reference (para. [0052]-[0053]), the passages state that "a user can be interested in the user whose card is being displayed even when the
  other user does not indicate interest. The system triggers a series of actions, such as adding the user whose card is being displayed to the
  current user's contact list. A user who has been liked may be notified of the identity of the user who indicated the "like", maybe notified of
  the existence of the "like" without disclosure of the user, or not notified at all". In these passages, the Examiner can only conclude there is
  a unidirectional communication may be taken place while user is searching for a perfect match, and wants to point out to Applicant that the
  Examiner has relied on para. [0053], para. [0064] and para. [0065] and para. [0094] of the Janseens reference to teach "enabling
  communication between the first user and the second user in response to determining that both the first user has expressed the positive
  preference indication regarding the second user and the second user has expressed the positive preference indicating regarding the first
  user", and the enabled communication between the first user and the second user is a bidirectional interaction or communication, when two
  users indicate a "like" for the other.
  Applicant further argues that in paragraph 56 of Janssens discloses users setting preferences but otherwise allowing open communication
  between users of the system and paragraph 178 of Janssens addresses a "speed dating" situation where users who have expressed no
  preference for other users are forced to chat with another for a period of time. In response to Applicant's argument, the Examiner
  disagrees because in view of the Janseens reference (para. [0056]), the chat sessions may or may not be conducted between users of the
  system, since users can specify rules not to receive any chat messages and may not have any bidirectional communication. Further, in
  view of para. [0178] of Janssens, the system would only paired with the users considered to be most likely to be interesting to the other
  user, and the system retrieves information if users have visited, liked or linked with each other through the normal card-feed system. No
  users are forced to chat with another users when there are not willing to in the speed dating situation. In addition, In paragraph [0184] of
  Janseens, the system will inhibit communicating between the users during the session e.g. they will not be permitted to talk or chat to each
  other via the system when only one user liked the other one during the pairing process (See Janseens Figure 16, item 1607 and item
  1609).

  Therefore for at least the reasons stated above, the final rejection office action mailed on 08/29/2016 rejecting all claims is still maintained ..




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076533.0146                                                                    14/059,192



             OK TO ENTER: /Y.C/
              IN THE UNITED STATES PATENT AND TRADEMARK OFFICE



In re Application of:            Sean Rad et al.
Serial No.:                      14/059,192
Filing Date:                     October 21, 2013
Group Art Unit:                  2164
Examiner:                        Yuk Ting Choi
Confirmation No.:                1044
Title:                           MATCHING PROCESS SYSTEM AND METHOD




Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450




            RESPONSE TO OFFICE ACTION PURSUANT TO 37 C.F.R. § 1.111

           In response to the Office Action dated August 29, 2016 ("Office Action"), Applicants
respectfully request the Examiner to reconsider the rejections of the claims in view of the
following amendments and remarks.




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083523.0118                                                                 14/059,192




             IN THE UNITED STATES PATENT AND TRADEMARK OFFICE



In re Application of:          Sean Rad et al.
Serial No.:                    14/059,192
Filing Date:                   October 21, 2013
Group Art Unit:                2164
Examiner:                      Yuk Ting Choi
Confirmation No.:              1044
Title:                         MATCHING PROCESS SYSTEM AND METHOD




Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450




                   SUPPLEMENTAL RESPONSE TO OFFICE ACTION

           Applicant responded to the final Office Action dated August 29, 2016 ("Office
Action") on October 31, 2016 ("Initial Response"). Since then, new evidence was published
on November 3, 2016 by The Wall Street Journal supporting Applicant's position that its
claims are not obvious.      Therefore, Applicant respectfully requests that the Examiner
consider this supplemental response which discusses this new evidence in view of the Initial
Response.




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In the Claims:

           For the convenience of the Examiner, all pending claims are set forth below, whether
or not an amendment is made. Please amend the claims as follows:


           1.-22. (Canceled)


           23.    (Previously Presented) A computer implemented method of profile matching,
comprising:
           electronically receiving a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
           determining a set of potential matches for the first user in response to receiving the
first request;
           causing the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
           determining that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
           in response to determining that the first user expressed the positive preference
indication regarding the first potential match, automatically causing the graphical user
interface to display a graphical representation of a second potential match of the set of
potential matches instead of the graphical representation of the first potential match;
           determining that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
           determining to enable initial communication between the first user and the second
user in response to determining that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;




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                                                 3


           in response to determining to enable initial communication between the first user and
the second user, causing the graphical user interface to display to the first user the graphical
representation of the first potential match;
           determining that the first user expressed a negative preference indication regarding a
third potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third
potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
           preventing communication between the first user and the third user after determining
that the first user has expressed the negative preference indication regarding the third user;
           determining that the first user expressed a positive preference indication regarding a
fourth potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
           preventing communication between the first user and the fourth user after determining
that the fourth user has expressed a negative preference indication regarding the first user.


           24.    (Canceled)


           25.    (Previously Presented) The method of Claim 23, further comprising:
           in response to determining that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, causing the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling a text area to be presented to the first user.




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           26.   (Previously Presented) The method of Claim 23, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


           27.   (Canceled)


           28.   (Canceled)


           29.   (Canceled)




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           30.    (Previously    Presented)      A       non-transitory   computer-readable   medium
comprising instructions that, when executed by a processor, are configured to:
           electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
           determine a set of potential matches for the first user in response to receiving the first
request;
           cause the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
           determine that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
           in response to the determination that the first user expressed the positive preference
indication regarding the first potential match, automatically cause the graphical user interface
to display a graphical representation of a second potential match of the set of potential
matches instead of the graphical representation of the first potential match;
           determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
           determine to enable initial communication between the first user and the second user
in response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
           in response to the determination to enable initial communication between the first user
and the second user, cause the graphical user interface to display to the first user the graphical
representation of the first potential match;
           determine that the first user expressed a negative preference indication regarding a
third potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third




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potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
           prevent communication between the first user and the third user after determining that
the first user has expressed the negative preference indication regarding the third user;
           determine that the first user expressed a positive preference indication regarding a
fourth potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
           prevent communication between the first user and the fourth user after determining
that the fourth user has expressed a negative preference indication regarding the first user.


           31.    (Canceled)


           32.    (Previously Presented)     The medium of Claim 30, further comprising
instructions configured to, in response to the determination that both the first user has
expressed the positive preference indication regarding the second user and the second user
has expressed the positive preference indication regarding the first user, cause the display of a
graphical notification, on the graphical user interface of the first electronic device, that a
match exists between the first user and the second user, the graphical notification comprising
a user interface control enabling a text area to be presented to the first user.


           33.    (Previously Presented) The medium of Claim 30, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


           34.    (Canceled)


           35.    (Canceled)




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           36.   (Canceled)




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           3 7.   (Previously Presented) A system for profile matching, comprising:
           an interface operable to:
           electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device; and
           a processor coupled to the interface and operable to:
           determine a set of potential matches for the first user in response to receiving the first
request;
           cause the interface to display a graphical representation of a first potential match of
the set of potential matches to the first user on a graphical user interface of the first electronic
device, the first potential match corresponding to a second user;
           determine that the interface has received a positive preference indication from the first
user regarding the first potential match at least by determining that the first user performed a
first swiping gesture associated with the graphical representation of the first potential match
on the graphical user interface;
           automatically cause the interface to remove the presentation of the first potential
match from the graphical user interface in response to detecting the gesture and cause the
interface to present, on the graphical user interface, a second potential match of the set of
potential matches to the first user;
           determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match; and
           determine to enable initial communication between the first user and the second user
in response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
           in response to the determination to enable initial communication between the first user
and the second user, cause the graphical user interface to display to the first user the graphical
representation of the first potential match;
           determine that the first user expressed a negative preference indication regarding a
third potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third



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potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
           prevent communication between the first user and the third user after determining that
the first user has expressed the negative preference indication regarding the third user;
           determine that the first user expressed a positive preference indication regarding a
fourth potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fomih user; and
           prevent communication between the first user and the fourth user after determining
that the fourth user has expressed a negative preference indication regarding the first user.


           38.    (Canceled)


           39.    (Previously Presented)     The system of Claim 37, the processor further
operable to, in response to the determination that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, cause the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling a text area to be presented to the first user.


           40.    (Previously Presented) The system of Claim 37, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


           41.    (Canceled)


           42.    (Canceled)




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           43.   (Canceled)




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                                                   11


                                             REMARKS

           In the Initial Response, Applicant traversed the Section 103 rejections of the pending
claims by, in part, discussing objective evidence demonstrating that the claims are not
obvious.       Initial Response at 13-16.      In particular, Applicant provided evidence that
embodiments of the claims were commercially successful and copied by others.                    Id
Applicant respectfully requests that the Examiner consider the new evidence discussed below
that also demonstrates that the claims are commercially successful and copied by others.
           On November 3, 2016, The Wall Street Journal published an article that discusses
embodiments of Applicant's claims. The Wall Street Journal stated:
                   For the millennial generation, the lingo of "swiping" is painfully
           obvious. But it didn't even exist until 2013, when the Tinder app introduced
           the finger-flicking gesture into its interface for choosing a date. When looking
           at the profile photo of a potential match, a dismissive swipe to the left moves
           on to the next prospect, while a swipe to the right indicates interest. And if the
           right-swipe is mutual, dating rituals can commence via instant messaging.

                  Tinder's massive success, with users making more than a billion
           swipes a day, has led to an array of other apps adopting the swipe-to-like
           approach. "Swiping" has even permeated the language, with "swipe left" used
           as a general metaphor for rejection and "swipe right" for acceptance and
           openness.
Appendix 11 at 2. Notably, the ai1icle attributes the commercial success and popularity of
Applicant's product to the claimed features at issue in this patent application. In addition, the
article mentions that others have copied the claimed features embodied in Applicant's
product. This new article is in accord with the ten other references submitted by Applicant in
the Initial Response; this overwhelming, objective evidence demonstrates that the claims are
not obvious. Therefore, Applicant respectfully requests that the pending claims be allowed.




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                                         CONCLUSION
           Applicant has made an earnest attempt to place this case in condition for allowance.
For the foregoing reasons and for other reasons clearly apparent, Applicant respectfully
request reconsideration and full allowance of all pending claims.


           If the Examiner feels that a telephone conference would advance prosecution of this
application in any manner, the Examiner is invited to contact Roshan Mansinghani, Attorney
for Applicant, at the Examiner's convenience at (214) 953-6737.


           Although Applicant believes no other fees are due, the Commissioner is authorized to
charge any necessary additional fees and credit any overpayments to Deposit Account No.
02-0384 of BAKER BOTTS L.L.P.


                                               Respectfully submitted,

                                               BAKER BOTTS L.L.P.
                                               Attorneys for Applicant


                                             /-----~
                                               Roshan S. Mansinghani
                                               Reg. No. 62,429
                                               (214) 953-6737

Date:
              I   I
Correspondence Address:
Customer No:            05073




30294201
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               APPENDIX 11




                                 .   .   ..   '          .   -   ...
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http://www. wsj.comlarticles/why-millennials-swipe-right-on-swiping-14 7818731 9


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Wl1y Millennials S"'ipe Rigl1t On
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A TV show capitalizes on an older generation's incomprehension




   PHOTO: /STOCK


By BEN ZIMMER
Nov. 3, 201611:35 a.m. ET



In the new CBS comedy "The Great Indoors," 20-somethings and 40-somethings face off
across a divide so stark that it can seem like the two generations are speaking entirely
different languages.
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Take this week's episode, in which the show's older protagonist Jack (played by Joel
McHale) tries to navigate the uncertain terrain of online dating, with the help of his
millennial office-mates.

Jack's crash course in using dating apps begins with the basics: "If you like someone,
swipe right. If you don't, swipe left."



For the millennial generation, the lingo of "swiping" is painfully obvious. But it didn't
even exist until 2013, when the Tinder app introduced the finger-flicking gesture into its
interface for choosing a date. When looking at the profile photo of a potential match, a
dismissive swipe to the left moves on to the next prospect, while a swipe to the right
indicates interest. And if the right-swipe is mutual, dating rituals can commence via
instant messaging.

Tinder's massive success, with users making more than a billion swipes a day, has led to
an array of other apps adopting the swipe-to-like approach. "Swiping" has even
permeated the language, with "swipe left" used as a general metaphor for rejection and
"swipe right" for acceptance and openness.

In an issue of the online magazine Rookie, editor in chief Tavi Gevinson, now 20, wrote
about the need for taking bold steps: "swipe right, be vulnerable and set ambitious
goals." And in a recent comic book, the character Deadpool says, "I'm just gonna swipe
left on this whole fight if that's cool."

Like much of the millennial lexicon, "swiping" is born out of interactions with new
communication technology. Mike Gibbons, the creator and executive producer of "The
Great Indoors," told me that the idea for the show came about when he tried to
understand the tech-driven world of the young staffers he worked with on "The Late
Late Show With James Corden," where he was the head writer.

When it comes to innovative language, Mr. Gibbons, who is in his late 40s, observed that
the churn is faster than ever before. "Even people in their late 20s may feel old, like
they're not speaking the same language as the new wave coming in," he said.

That presents a challenge when writing for "The Great Indoors," as he finds that slang
terms that are new to him-like "turnt" for "intoxicated" or "woke" for "socially
aware" -may already be considered passe among the millennial set.

"The Great Indoors" has left some critics outdoors: Earlier this week on the review
aggregator Metacritic, the show had a 51 % rating. As for "swiping," it may already be on
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its way out. Consider the case of Hinge, once a Tinder-like app for finding dates, which
has moved away from the swiping model and now markets itself as a "relationship app."

As Hinge's FAQ page explains, "We scrapped our old app because we realized the world
of mindless swiping was ruining romance." Or as an email to users succinctly put it,
"We've swiped left on swiping."


   MORE FROM WORD ON THE STREET


      "   Talk of 'Wave Election' Rises-But What Is It? o,

      •   How 'Special Sauce' Moved From Big Macs to Everywhere

      •   'Pixel': From a 1925 Lab to a Google Smartphone OcL P,

      •   'Present' Regains Its Meaning as a State of Mind

      •   Wild Cards-in Politics, Postseason Sports and Poker




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083523.0118                                                                     USSN 14/059,192

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               IN THE UNITED STATES PATENT AND TRADEMARK OFFICE




In re Application of:             Sean Rad et al.
Serial No.:                       14/059,192
Filing Date:                      October 21, 2013
Group Art Unit:                   2164
Examiner:                         Yuk Ting Choi
Confirmation No.:                 1044
Title:                            MATCHING PROCESS SYSTEM AND METHOD



                            DECLARATION UNDER 37 C.F.R. §1.132


         I, Roshan S. Mansinghani, hereby declare the following:

1.       I am an attorney for the Applicant, Tinder, Inc. ("Tinder").

2.       I understand that Tinder is the sole Assignee of United States Patent Application Serial
         No. 14/059, 192 ("Application").

3.       Attached to Applicant's submission dated November 9, 2016 is Appendix 11.

4.       Appendix 11 is a printout performed on November 7, 2016 of the following webpage:

                http://www.wsj.com/articles/why-millennials-swipe-right-on-swiping-14 78187319

5.       I hereby declare that all statements made herein of my own knowledge are true and that
         all statements made on information and belief are believed to be true, and further that
         these statements were made with the knowledge that willful false statements and the like
         so made are punishable by fine or imprisonment, or both, under Section 1001 of Title 18
         of the United States Code, and that such willful statements may jeopardize the validity of
         the application or any patent issuing therefrom.
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ATTORNEY DOCKET NUMBER                               PATENT APPLICATION
083523.0118                                               USSN 14/059,192

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    By:                                      Date:
          Roshan S. Mansinghani
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                                    Electronic Acknowledgement Receipt

                       EFSID:                     27461900


                 Application Number:              14059192


          International Application Number:

                Confirmation Number:              1044




                  Title of Invention:             Matching Process System And Method




         First Named Inventor/Applicant Name:     Sean Rad


                  Customer Number:                5073


                         Filer:                   Roshan Suresh Mansinghani/Laurie Scott


                 Filer Authorized By:             Roshan Suresh Mansinghani


              Attorney Docket Number:             083523.0118


                    Receipt Date:                 09-NOV-2016


                     Filing Date:                 21-0CT-2013


                     Time Stamp:                  15:04:25


                  Application Type:               Utility under 35 USC 111 (a)


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                                                  Multipart Description/PDF files in .zip description

                                        Document Description                                             Start                            End


                         Supplemental Response or Supplemental Amendment                                    1                              1



                                                  Claims                                                    2                             10



                         Applicant Arguments/Remarks Made in an Amendment                                   11                            16


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If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
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Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International AQQlication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International AQQlication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
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                                                                                                                                                                              PTO/SB/06 (09-11)
                                                                                                                                             Approved for use through 1/31/2014. OMB 0651-0032
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    PATENT APPLICATION FEE DETERMINATION RECORD                                                             Application or Docket Number                Filing Date
                                    Substitute for Form PT0-875                                                      14/059, 192                     10/21 /2013            D To be Mailed

                                                                                                                           ENTITY:          ~LARGE           D SMALL D MICRO
                                                                         APPLICATION AS FILED - PART I
                                                   (Column 1)                          (Column 2)

                   FOR                           NUMBER FILED                       NUMBER EXTRA                                   RATE($)                              FEE($)

 D BASIC FEE                                           N/A                                 N/A                                        N/A
       (37 CFR 1.16(a), (b), or (c))

 D SEARCH    FEE
   (37 CFR 1.16(k), (i), or (m))
                                                       N/A                                 N/A                                        N/A

 D (37
   EXAMINATION FEE
       CFR 1.16(0), (p), or (q))
                                                       N/A                                 N/A                                        N/A
 TOTAL CLAIMS
 (37 CFR 1.16(i))                                          minus 20 =       *                                                x $            =

 INDEPENDENT CLAIMS
 (37 CFR 1.16(h))                                            minus 3 =      *                                                x $            =

                                            If the specification and drawings exceed 100 sheets
                                            of paper, the application size fee due is $310 ($155
 0APPLICATION SIZE FEE
                                            for small entity) for each additional 50 sheets or
   (37 CFR 1.16(s))
                                            fraction thereof. See 35 U.S.C. 41 (a)(1 )(G) and 37
                                            CFR 1.16(s).
 D MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))
 * If the difference in column 1 is less than zero, enter "O" in column 2.                                                          TOTAL



                                                                      APPLICATION AS AMENDED - PART II

                                    (Column 1)                        (Column 2)             (Column 3)

                                CLAIMS                           HIGHEST
                                REMAINING                        NUMBER
f--     11/09/2016              AFTER                            PREVIOUSLY
                                                                                          PRESENT EXTRA                            RATE($)                      ADDITIONAL FEE ($)
z                               AMENDMENT                        PAID FOR
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       (37 CFR 1.16(hll         *3                   Minus       ***3                 =                                      x $           =
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        D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                             TOTAL ADD'L FEE


                                    (Column 1)                        (Column 2)             (Column 3)

                                  CLAIMS                          HIGHEST
                                 REMAINING                         NUMBER
                                                                                          PRESENT EXTRA                            RATE($)                      ADDITIONAL FEE ($)
                                   AFTER                         PREVIOUSLY
                                AMENDMENT                         PAID FOR
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 z     Total (37 CFR
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 w      1.16(i))                                                                      =                                                     =

 ~      Independent
 0     (37 CFR 1.16(h))         *                    Minus       ***                  =                                      x $           =
 z      D Application Size Fee (37 CFR 1.16(s))
 w
 ~
 <(     D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                             TOTAL ADD'L FEE

 * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.                                       LIE
 ** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".                                   KATRINA. TURNER
 *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
 The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
This collection of information is required by 37 CFR 1.16. The information is required to obtain or retain a benefit by the public which is to file (and by the US PTO to
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Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO THIS
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                                            If you need assistance in completing the form, call 1-800-PT0-9199 and select option 2.
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ATTORNEY DOCKET NO.:                                                 PATENT APPLICATION
076533 .0146                                                                   14/059,192




             IN THE UNITED STATES PATENT AND TRADEMARK OFFICE



In re Application of:            Sean Rad et al.
Serial No.:                      14/059,192
Filing Date:                     October 21, 2013
Group Art Unit:                  2164
Examiner:                        Yuk Ting Choi
Confirmation No.:                1044
Title:                           MATCHING PROCESS SYSTEM AND METHOD




Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450




            RESPONSE TO OFFICE ACTION PURSUANT TO 37 C.F.R. § 1.111

           In response to the Office Action dated August 29, 2016 ("Office Action"), Applicants
respectfully request the Examiner to reconsider the rejections of the claims in view of the
following amendments and remarks.




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076533.0146                                                                        14/059,192

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In the Claims:

           For the convenience of the Examiner, all pending claims are set forth below, whether
or not an amendment is made. Please amend the claims as follows:


           1.-22. (Canceled)


           23.    (Previously Presented) A computer implemented method of profile matching,
comprising:
           electronically receiving a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
           determining a set of potential matches for the first user in response to receiving the
first request;
           causing the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
           determining that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
           in response to determining that the first user expressed the positive preference
indication regarding the first potential match, automatically causing the graphical user
interface to display a graphical representation of a second potential match of the set of
potential matches instead of the graphical representation of the first potential match;
           determining that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
           determining to enable initial communication between the first user and the second
user in response to determining that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;




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           in response to determining to enable initial communication between the first user and
the second user, causing the graphical user interface to display to the first user the graphical
representation of the first potential match;
           determining that the first user expressed a negative preference indication regarding a
third potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third
potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
           preventing communication between the first user and the third user after determining
that the first user has expressed the negative preference indication regarding the third user;
           determining that the first user expressed a positive preference indication regarding a
fourth potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
           preventing communication between the first user and the fourth user after determining
that the fourth user has expressed a negative preference indication regarding the first user.


           24.    (Canceled)


           25.    (Previously Presented) The method of Claim 23, further comprising:
           in response to determining that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, causing the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling a text area to be presented to the first user.




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           26.   (Previously Presented) The method of Claim 23, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


           27.   (Canceled)


           28.   (Canceled)


           29.   (Canceled)




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           30.    (Previously    Presented)      A       non-transitory   computer-readable   medium
comprising instructions that, when executed by a processor, are configured to:
           electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
           determine a set of potential matches for the first user in response to receiving the first
request;
           cause the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
           detennine that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
           in response to the determination that the first user expressed the positive preference
indication regarding the first potential match, automatically cause the graphical user interface
to display a graphical representation of a second potential match of the set of potential
matches instead of the graphical representation of the first potential match;
           determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
           determine to enable initial communication between the first user and the second user
in response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
           in response to the determination to enable initial communication between the first user
and the second user, cause the graphical user interface to display to the first user the graphical
representation of the first potential match;
           determine that the first user expressed a negative preference indication regarding a
third potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third




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potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
           prevent communication between the first user and the third user after determining that
the first user has expressed the negative preference indication regarding the third user;
           determine that the first user expressed a positive preference indication regarding a
fourth potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
           prevent communication between the first user and the fourth user after determining
that the fourth user has expressed a negative preference indication regarding the first user.


           31.    (Canceled)


           32.    (Previously Presented)     The medium of Claim 30, further comprising
instructions configured to, in response to the determination that both the first user has
expressed the positive preference indication regarding the second user and the second user
has expressed the positive preference indication regarding the first user, cause the display of a
graphical notification, on the graphical user interface of the first electronic device, that a
match exists between the first user and the second user, the graphical notification comprising
a user interface control enabling a text area to be presented to the first user.


           33.    (Previously Presented) The medium of Claim 30, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


           34.    (Canceled)


           35.    (Canceled)




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           36.   (Canceled)




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           37.    (Previously Presented) A system for profile matching, comprising:
           an interface operable to:
           electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device; and
           a processor coupled to the interface and operable to:
           determine a set of potential matches for the first user in response to receiving the first
request;
           cause the interface to display a graphical representation of a first potential match of
the set of potential matches to the first user on a graphical user interface of the first electronic
device, the first potential match corresponding to a second user;
           determine that the interface has received a positive preference indication from the first
user regarding the first potential match at least by determining that the first user performed a
first swiping gesture associated with the graphical representation of the first potential match
on the graphical user interface;
           automatically cause the interface to remove the presentation of the first potential
match from the graphical user interface in response to detecting the gesture and cause the
interface to present, on the graphical user interface, a second potential match of the set of
potential matches to the first user;
           determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match; and
           determine to enable initial communication between the first user and the second user
in response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
           in response to the determination to enable initial communication between the first user
and the second user, cause the graphical user interface to display to the first user the graphical
representation of the first potential match;
           determine that the first user expressed a negative preference indication regarding a
third potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third



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potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
           prevent communication between the first user and the third user after determining that
the first user has expressed the negative preference indication regarding the third user;
           determine that the first user expressed a positive preference indication regarding a
fourth potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
           prevent communication between the first user and the fourth user after determining
that the fourth user has expressed a negative preference indication regarding the first user.


           38.    (Canceled)


           39.    (Previously Presented)     The system of Claim 37, the processor further
operable to, in response to the determination that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, cause the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling a text area to be presented to the first user.


           40.    (Previously Presented) The system of Claim 37, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


           41.    (Canceled)


           42.    (Canceled)




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           43.   (Canceled)




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                                            REMARKS

           This Application has been carefully reviewed in light of the Office Action. Applicant
appreciates the Examiner's consideration of the Application. In order to advance prosecution
of this Application, Applicant has responded to each notation by the Examiner. Applicant
respectfully requests reconsideration and favorable action in this case.

35 U.S.C. § 103 Rejections
           The Examiner rejects Claims 23, 25, 26, 30, 32, 33, 35, 37, 39, and 40 under 35
U.S.C. § 103 as allegedly being unpatentable over U.S. Patent Publication No. 2014/0040368
Al by Janssens ("Janssens ")and in view of U.S. Patent Publication No. 2008/0196094 Al
by Benschop et al. ("Benschop "). Applicant respectfully traverses these rejections because
(1) the Office Action has not established a prima facie case of obviousness; and (2) objective
evidence demonstrates that the claims are not obvious.


The claims are not anticipated nor rendered obvious in view of Janssens.
           In the "Response to Arguments" section, the Examiner contends that Janssens
discloses the following limitations of the independent claims:
           •   determining to enable initial communication between the first user and the second
               user in response to determining that both the first user has expressed the positive
               preference indication regarding the second user and the second user has expressed
               the positive preference indication regarding the first user (Claim 23);
           •   determine to enable initial communication between the first user and the second
               user in response to the determination that both the first user has expressed the
               positive preference indication regarding the second user and the second user has
               expressed the positive preference indication regarding the first user (Claim 30);
               and
           •   determine to enable initial communication between the first user and the second
               user in response to the determination that both the first user has expressed the
               positive preference indication regarding the second user and the second user has
               expressed the positive preference indication regarding the first user (Claim 37).
Applicant disagrees that Janssens discloses these limitations. Not only that, Janssens teaches
away from these limitations. This is significant because "[a] Prima Facie case of obviousness
may also be rebutted by showing that the art, in any material respect, teaches away from the
claimed invention." In re Geisler, 116 F.3d 1465, 1471 (Fed. Cir. 1997); see also MPEP
2145(X.D.2).


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           Janssens discloses that users can communicate with each other prior to the "linking"
cited by the Examiner. See, e.g., Janssens at ii 95. Paragraphs 52-53 of Janssens suggests
that users can freely communicate unless they are prevented upon request by a user. This
teaches away from the claimed manner of enabling initial communication as users are
prevented from communicating until the conditions specified in the claim are met. See also
id. at ii 5. Paragraph 56 of Janssens merely discloses users setting preferences but otherwise
allowing open communication between users of the system.           Paragraph 178 of Janssens
addresses a "speed dating" situation where users who have expressed no preference for other
users are forced to chat with another for a specified period of time. This again teaches away
from the claimed manner of enabling initial communication which require a particular set of
factors to allow for communication between users. Thus, not only has the Examiner failed to
identify one passage of Janssens that explicitly teaches enabling initial communication in the
manner claimed, numerous passages in Janssens teach the opposite and allow users to
communicate before the "linking" feature discussed by the Examiner.


The claims are not obvious in view of Janssens and Benschop.
           In the alternative, the Office Action rejects the independent claims as obvious by
attempting to remedy the deficiencies of Janssens noted above with portions of Benschop.
Office Action at 8. But this rejection suffers from two legal deficiencies. First, obviousness
rejections are inappropriate when a reference teaches away from the claims. In re Geisler,
116 F.3d 1465, 1471 (Fed. Cir. 1997); see also MPEP 2145(X)(D)(2). Second, obviousness
rejections are improper where a proposed modification would render the prior art being
modified unsatisfactory for its intended purpose. MPEP 2143.0l(V).
           Janssenr; teaches away from being combined with Benschop. The cited portions of
Benschop are directed to an e-mail system wherein users can only e-mail each other if they
are in each other's address books. Benschop at ii 60. Benschop seeks to allow messaging
between users that already know each other. Id. at ii 58. But, as detailed above, Janssens
teaches away from enabling initial communication in the manner claimed because Janssens
is directed to facilitating communication between users who do not know each other.
           Incorporating the teachings of Benschop would frustrate the purpose of Janssens. As
explained above, the cited portions Benschop is directed to an e-mail system that reduces



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spam by allowing messaging between users that already know each other. See Benschop at
iii! 57 & 60. But Janssens teaches an electronic dating platform where users do not know
each other and are using the platform to get acquainted. Thus, combining Benschop and
Janssens in the manner suggested by the Office Action would lead to a system inoperable for
its intended purpose.


Objective evidence demonstrates that the claims are not obvious.
           The law establishes that secondary considerations based on objective evidence can
rebut that the claims are not obvious.           MPEP 2145.      One such consideration is the
commercial success of an embodiment of the claims; another is whether the claimed
invention was copied by others. Id A third consideration is whether the claimed invention
has received industry praise. Id.; Vulcan Engineering Co. v. Fata Aluminum Inc., 278 F.3d
1366, 1373 (Fed. Cir. 2002) ("Appreciation by contemporaries skilled in the field of the
invention is a useful indicator of whether the invention would have been obvious"). The
claimed inventions of the present application have been commercially successful, copied by
others, and have received industry praise as the objective evidence discussed below
demonstrates. Therefore, the obviousness rejection of the claims should be withdrawn.
           Multiple articles from different publications attest to the overwhelming success of
Applicant's system that embodies the independent claims and specifically cite the claimed
manner of enabling initial communication as the reason for that success. One publication
attributes the commercial success to:
           "the double opt-in": You can only message someone after you've both
           signaled that you'd be down to talk to the other. Due to this feature, Tinder is
           succeeding with women turned off by traditional dating sites.

Appendix 1 at 2. Another publication notes Applicant's success in accruing "millions and
millions of users" in less than a year noting "the idea of the double opt-in-some
establishment of mutual interest that precedes interaction." Appendix 2 at 2-3. Yet another
publication highlights that Applicant's system has "over 1.5 billion swipes and 26 million
matches per day" and attributed the "success" to the "double opt-in connections[.]"
Appendix 3 at 2. In an article titled "How Tinder Solved Online Dating for Women," yet
another publication describes the Applicant's system in terms of the claimed functionality
after noting its success with users:


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           You're served a succession of photos of people who meet your age, gender,
           and location criteria. You swipe right if you want to meet someone, and swipe
           left if you don't. If you both swipe right, you can message each other.

Appendix 4 at 1. A fifth publication concurs, noting both the success of Applicant's system
and the claimed technology:
           It's the fastest-growing dating application in America, and the flirting device
           is becoming ubiquitous in Australia among young urban singles. Tinder -
           more than any other app or website - has managed to suck the stigma out of
           meeting online. The smartphone app works a little like speed dating, but it's
           even more rapid-fire. Profiles, which consist of five photos taken from users'
           Facebook pages and a short description, are stacked on the app like a deck of
           cards. If someone likes what they see, they swipe right to indicate they're
           interested. If they don't, they swipe left. If two people swipe right on each
           other, they're a "match" and can start messaging inside the app. This way, the
           potential for unwanted attention is eliminated.

Appendix 5 at 1. Finally, a sixth publication provides the same attestation succinctly:
           Downloaded by more than 100 million people, Tinder is responsible for some
           1.5 million in-person dates each week, according to its creators. It's helped to
           normalize "meeting online." Tinder did this with an ingeniously simple swipe
           "right for like"/ "swipe left for dislike" vetting process, connecting people
           only when there is mutual interest. Its soaring popularity has helped
           revolutionize modern dating, shifting us from finding love via chance to
           finding it via algorithm.

Appendix 6 at 3.        Thus, overwhelming objective evidence demonstrates the commercial
success of Applicant's inventions.
           Further, multiple competitors arising after the Applicant's system incorporated the
claimed features, and publications have attested to this type of copying. A product called
"The League" "[c]alls itself the 'Tinder for elites[.]"' Appendix 8 at 1. "Like Tinder and
Hinge, you can swipe right to indicate you're interested in someone or swipe left if you'd like
to pass." Id. at 5. And like Applicant's system, you can communicate once you match. Id. at
13. These same features are touted by "The League" itself. Appendix 7 at 1. "Hinge" is
another application that "looks very much like Tinder" (Appendix 9 at 1) and "borrows most
of its interface from Tinder" (Appendix 1 at 3). This application also works like Applicant's
system:
           At first glance, they [Tinder and Hinge] look quite similar. Both give you one
           potential mate at a time that you can swipe right to approve or swipe left to



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           dismiss. If two people approve each other, they're allowed to chat within
           Hinge.

Appendix 10 at 1.         Indeed, another article notes that Applicant's interface is "widely
copied[.]" Appendix 3 at 2.         Thus, objective evidence demonstrates Applicant's claimed
inventions have been copied by others.
           In addition, multiple publications have praised Applicant's system based on the
technology claimed in the present application. One publication stated:
           Tinder ... found another way to cut down on the creep factor, through what its
           founders call "the double opt-in": You can only message someone after you've
           both signaled that you'd be down to talk to the other. Due to this feature,
           Tinder is succeeding with women turned off by traditional dating sites.
Appendix 1 at 2. Another publication claimed that Tinder has "cracked the code" and has
won the "race" of applications in its field. Appendix 2 at 1; see id. at 2-3 (identifying the
claimed features as reasons for the system's success). In an article titled "How Tinder Solved
Online Dating for Women," yet another publication praised Applicant's system in terms of
the claimed functionality:
           You're served a succession of photos of people who meet your age, gender,
           and location criteria. You swipe right if you want to meet someone, and swipe
           left if you don't. If you both swipe right, you can message each other.

Appendix 4 at 1.        A fifth publication concurs, praising the Applicant's system and the
claimed technology:
           Tinder - more than any other app or website - has managed to suck the stigma
           out of meeting online. The smartphone app works a little like speed dating, but
           it's even more rapid-fire. Profiles, which consist of five photos taken from
           users' Facebook pages and a short description, are stacked on the app like a
           deck of cards. If someone likes what they see, they swipe right to indicate
           they're interested. If they don't, they swipe left. If two people swipe right on
           each other, they're a "match" and can start messaging inside the app. This
           way, the potential for unwanted attention is eliminated.

Appendix 5 at 1. A sixth publication praises Applicant's system as "ingenious":
           It's helped to normalize "meeting online." Tinder did this with an ingeniously
           simple swipe "right for like"/ "swipe left for dislike" vetting process,
           connecting people only when there is mutual interest. Its soaring popularity
           has helped revolutionize modern dating, shifting us from finding love via
           chance to finding it via algorithm.




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Appendix 6 at 3. Thus, overwhelming objective evidence demonstrates industry praise of
Applicant's inventions.
           For at least these reasons, Claims 23, 30, and 37, as well as each of their respective
dependent claims are in condition for allowance. Favorable action is requested.




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                                          CONCLUSION
           Applicants have made an earnest attempt to place this case in condition for allowance.
For the foregoing reasons and for other reasons clearly apparent, Applicants respectfully
request reconsideration and full allowance of all pending claims.


           If the Examiner feels that a telephone conference would advance prosecution of this
application in any manner, the Examiner is invited to contact Roshan Mansinghani, Attorney
for Applicants, at the Examiner's convenience at (214) 953-6737.


           Although Applicants believe no other fees are due, the Commissioner is authorized to
charge any necessary additional fees and credit any overpayments to Deposit Account No.
02-0384 of BAKER BOTTS L.L.P.


                                                Respectfully submitted,

                                                BAKER BOTTS L.L.P.
                                                Attorneys for Applicants



                                                Roshan S. Mansinghani
                                                Reg. No. 62,429
                                                (214) 953-6737

Date:

Correspondence Address:
Customer No:            05073




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                       APPENDIX 1
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From Tinder to Lulu: A Guide to the
  Modern World of Dating Apps
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           Lulu
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      is not a dating app. per 5E. inslei.;d, it's what                       ~\h•.:..~~p;;kd      1,-,.~H ~ ",;1 Ydp fot bovs..''
V1/0ffH!-n can           up to review their rnalo Filcot:ook friends. v·d"leli1er                   platonic BFFs,            ..
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          conc.>)1"f"l-S, Lulu                   t<:                         vv:ping m.anv rev;ews                the ,app,)


                nstc•a.cL wocrcn -rate the guv<s tf"'.ey knv'N on a scah::· of 1-10. and tho-n a<:.sign tl~-c-r:~
            lab<:l:::- frorn .3 ...·.rord bank of haahtaq-s_. t>Gth posifr.te (#R0<;.pect:sVvom0n) and nc-gat;v;.:'
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            ~hfOUSJh Li.i!u's SC'Y Ed ttlah;f0. guys. c.;-iri g.::-t the<r ow·n   scc.r1Jt 9ltrn.ps-:• of mfotlT'.:1tlon
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            .-;dd;r:9 pus;;:;vc· ha-sMags to thci( prcH!c (#Mnther<:LovDMB), and dcscril)lr.g thf:dr tu111-
            0ns (RF .. ca}:.yS1de) .3nd tvfn·off5 (#GrafH)'/Pantk•s). The, L-as•est wav for a 9"-'Y to fit:t a




            Ukc us on Face:book for more stories like th1sl




            see also
                                                                                                                      =
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                       APPENDIX2
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                                                                                                                                 Untl' recently. hookup
                                                                                                                                 apps vvere
Love Me Tinder
                                                                                                                                 straig11tfor-Narcl tut
                                                                                                                                 sleazy. Then alonq
                                                                                                                                 carne TimJf,r. U1e
                                                                                                                                 dating-hookup hybrid
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                                                                                                                                 sirnpleL sexier. ;1110
                                                                                                                                 part:<;ulmly lady-
                                                                                                                                 friendly. In just fifteen
                                                                                                                                 months, it seems to
                                                                                                                                 have cracked the code
                                                                                                                                 and caught fire. Here's
                                                                                                                                 i1ow Tinder won the
                                                                                                                                 se:~-app             arms race



                                                                                                                                 Piv"-i.;. fi.i,<•.,: Jf,~,-,~· t•.:> '.\l•di."'' ,<
                                                                                                                                 nivl»v Pi i1ffr0




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                 cl01-.,·nk>,,fie<l ,,n dw npps. He bH~,,· tht>- <l.O\l1Jf,irlf:f:-tbe perfidy of th>? ;i..:·c<?ptin: h~,1<l ;;hoc th<:- sr.<.focrr~.f.:'i •x;th
                 thi: iuteHe-.~t ;:,f •"· fen-ce pos.'!"-b-ut he phyei! .u1yt·•ay. Tf f.' icir:-:od ~WTV tr~ <:'t.:\hng ~~€-n':.:'.'e -cte1u0~?J?.}:•hi1>:-l!~­
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                 Amm;-d dv.> •E;\\lH:!.• time. S01~10'\~'hf'.'r,_; :H.TO.S"E: tu.•·n, ,'< W0lil:lll n,>.me-<l R.:1tli<:.·1i1:t-.l ~:hut <ll'l,-\'O:'i h~r o\.;Cnp:d .'H::(.:)mlt

                 Sb: h.i.d apprc.~~1;;hcd lut.t:rnd ..htl<l& a;g;;:crfr•t•1y. L<'!<l 1::1:<:.:k>;>d tb.• box tLM rti:'.~.J 51.iort·t(•Hn datint>: .1.ntl lht' on~
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                 ,,:,mted to jJ1tr::..ue st:·:-: \'':t;1 t;.;t.'.!1.urctt-;;<;i.'1·~. Bu~ ~ht- h.1d ,) prohlem; S1w hked th;> ;:\d\"Pniun-. ::'ht· 1::1d th£' u~;a,;l
                 hnn1an n~o?d t.-,r (1thr:r lnm~:u:s. ;rnd sh.,:: nf'<:rl>:<l tfo:. ,'on\·<?nienc,;. ot mPetiri_g p<'cpl.:- ·:•niiue Kiltbe: ir,.:- w;~c:                      ,r:
                 ne.,·:ly sir~gle-. \•:itb tami)y .)b\1.g~1.tl0n.:e. .·md u fo!Hiu1E" job. :'-1cH M h'<:-r fr-i"'nds. t.Yt:ff }r;~,1Ti.:-c'.. She !kh1-::-d




                 \\"hf'n 'K.iitb.>rh1~ :'<nd EH ..if;v.-nhnr.d~:d TiUd<!r in Ottol1f:'> :..~:::n.3. the.\· joi.r..0d millions of ,\lueo·icr:u:; inkrt'sted iu
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                 f,;ding:>. {;;•rthC"~•;;; y-e0ph•. ~."\.)U :.n»ip~ them h.• th-2 h:ft (:aK<u1.h1g no tlnnl:si ci· b t"hc r~.hl (}'"°S, j.->k<.l~~~), T,-.·o
                 ~<:"t."l])il- who ~:wipe t.'<tl'h othl'o.r t<: th~, right vi.U mNdt. Vour rn. atd::.~; .r(tenw in J fok1~r. ;ind (,fo:·n th~{>' dw t"nd 0f

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                 and tmd.t"ni:.ble sut"•::es-::. \\"h~foer it -..~··>i'b depend~ .:;r; Y•J\ff itlea of ~-:orhr.~
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        F:t<..·elh.~.;k rH~tv.v:·1: :.md :~h"'' .. "> ;o,.'hkh fr ....•Jltl;.,. ii ;,ny. , ...)<> h..".._.~, iu ((~:m;;(•r; n·;.tb th<': )><::r::on ii-. tt.c pL<...tr:. On

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        h.::td one fr:.:-nd in t'•:;n;.mon, and tfo·:-y borb Jik~d 1.01.;~g (.K. \\''ho dvr'n<.! lit~.: Lo~~1£ C.K.: Eh s,1y3 \~H':':t. Oh. y,~,~l.
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        I..ik~ 6C• t<.\H. Sim·.: join-in:?: 'Iind(-i i,:i;7t smnm.-t1!-. she-ha~ 'i'.'hi:tW:<l '<'<ith doz<.'H!t cf g"lry~ but ;:,niy gvn•: on t\';,_) TiHdE-!
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        Somf.'tinHos: s.he.ll st;1n Tmdenr>g \\·bile on th.;- tnin 1;;1:.-\ i.n:J.l gt>t sc <li~~ty,·,1-:i:>d .:s.he-!i miss h'f'r st;:•p. Sh;. ±in:.i.s $h1;
        .-;comN\nws f:1Hs- into;; ~··.nthiny S\'-'"lµing rhvthrn ~«il<:-ri" sht<-> not rf'4.lh· fonki::1g -';t tht< tn'-"li, juq ~~.-1immg hf>rsi:-!f




        l'nl dd;J)iH'IY !h)t rh,~ t>"P" of v:vni{)U \•fo.:" \\·,~}k.$ ·tr•."ltmd ~hiul:..inf t~1M f.'\'t'l)'vn~:· th;nk~ rm t.(ft. S1z·f'.,h: H'L' me
        9H:-dnF-.f not f.,:!'.'1 hkf> tht" pt>i..Jph~ win \;:;mt k• <l~lfi' her ;n·p abund.rnt 2nd "fl\'t'H>\·htA<:', ,,~o \dwH .1 l:.:t uf nti<!'t:hin~
        happ~m:, it "'~me,-;_ ,).s a re.~l b;:;,:;r;t      It make~ rne k~1!.: at my .:-:-."t._=.rn<:f \\·i;irld in a mon> fa,_·ornbli:- h".'I\'. slw c1~--;•,
        \\"hen she's bor~d. she S<Jes on T~nd.:or 'i\'hel:. shi: '"-"ants v~oiJi<l,\tion. she finds it •:>n Tinder. She usi:s it when $he's
        feelin! ck1W!l. ffiuder- get:3 ~1 slight upti<:-k in n;;e-ou :_~nr:.d~i.ys:, tb1t d~\Y' of hangoYer.~, bort>dom, and pbnning.)
        St:nding :snee-nt:hots l)f th"' niost ridk·ufoH$ phtitos that ::.otYH.• Gp bof. b~A)HH, a <,,)UT<'.'.R of mf:'nim<..'nt t~'}r iwr and
        h<!t (1~<.'nd!">. There ,;,;;,em.s: to h17 <i Vr<.'JNndPr<m<c of illl:'ll posint wirh tlg.;;t'5, sh.;> ;;ll_'>'S.


        A.f't'.l;:i:ll'.I: •:·o:nmm1i<?<i.ting \-.:ith pe•)))1~ is. another zt,>i;.,·. I do J. h:,t (1f !Jot re;;p(A1rting. \)·b:d~ ls ~wohab!~· h<11T1biF:
        poHt.:-.n,;-s:o.•.ds.:", s:h<:- .-;;;y~. It t:lkes ·'-11 t>')J>ed.:tlh' <l~.1-1-'lmk pt":r.rnn tc> ,,·:in l;er ::;\•t-r ~t t~:<:t mf'st::~ging. Th,:. u~;~al Hi.
        how <H~)'<)I.<' bOH'3 !wr. rm u ;:>oe1,1i \'\·od.:.:r, .:u~d I t.1lk b ~><.·<·p1.;: ~tU d<r~-'. ,;.}w :;..ay~. rm rwt iukre:Hed in
        :.~cmt-•)n.~\:, H'-v~· ~r<.'.' n:.t~'): q;.h,:ai•:.11. Ht'r t••:•'lc d.1t::-:., b<:1th-~'ls~ud<:-d he:· to$.{> out b~· bt•inf -:-(·"1!_\' solid te-xt




        ·n1<.> i'bt•.»: ,,·.,.r;: frnt>- Th,.,,,. di.d nc:t f'nd in;.,~...; ·;ni1kt:- rn,H;\· ofiirr fm•t ..bh·.'.-' on OkZ'L1ind. P:1n .~t thi<.. \'::ls :-.imph·

        rhnt t>xr.;of'"t,~.ti-orn: ;'l.r<:" :'O mufh fr,~"-·-e!· .:,~, Ti1;.d<-1·: ;)H \"f);'; k;:\,w ;1l.xn't th.:> pi:>opli> fn \'Our f;;Jd<>1 if r1nt ~·our
        G<h'.:tr,(·es :ti'<:" ·.~«:k·cm.;.. Ti:E< iacf.:; N st..'!~eci p1n·po::::;> in .;-,1:;-.h prn{ile can le«~d to 5,:;me e9ni:i.;.~ion. In t.1:::L m,u1y <)f
        dtt' people:! intervi~\\'C'd a:sk:.ed nw -i.dut th<:' silt> is- suppe-st.>d t•:> t~ fr•r. Som~ Pt>':'?!~. ~~ed to .readiug bt't\':een ih:.e
       1int"s. in ~ud~ matter;;. $imply-<~~~.nn{~ ca..-ua! st•x. ~c1t l\;~·ob. ! ~i.s.k ho\,. sh~~ n~;iko:. that :J{«'H. :rnd <.Jw i>.A\S :'-h<'
       dot'-"' r:ht rt•.::po~1d tt) u.1~;;:~?:z:~s that «rri-..·~ :.tt 3 ,,,\.7'.L


        Sh~ h<:s used the- &it.; h~1th tn          :-<i:•x Yo;:l~- ;dwr-E- she !i-i:'23". and in thf.' B,:r; .:-..re;;, \\.'h<:r<: .ihe i.c; from. S-h>? ob'$e:rn;~s"
       d.,.:n <iiff<?ren.:·e- \\"hfl1 -::lw .-;.ignr<l i:,r; h1 rh& n,1y. "hi:- ff'h -~ tfoo<l of r<?-r<>gnltfon: Th~,;.,:; ,11-e my peop.lF.-: 5J:i- :'>-1-i<l.
       They te on Tind~r bdi:.~' I <<~k ·,,_.h<tt tl1.<.! mea:1~. •~ml :>ho;; $it)'$. )..1.:n{' t-.u·th:;, hip,,.tery thirty:.~i1ni:-tl:ine fotb. ::.:.·h·~
       ':vd ·~~rJH' Jr-;.1l\.'ht;<. T1wv >:\'tr<?:- AH ~o -i:-uk <1nd look·?-<i so frh·ndl;: :rnd w~\tH': ll.nd fun. But htw: i:b£-s sh~
       .-.:h~ting'.;hJ1 tb.u from -;;t•oph:.• iu :\"<:'w Y<)r}.:? Sh-<.: dt•.•(·ri.bt•s .\ lypk.-;l phow ,.>f '-'            >:.._-.,,· Yorl.:t't <i:> -~_,;;_•Ifie t.ik<:u in a
       falh'Y iDn.n,t::" h.uhn)Vlll v-:h:le -.~·e~u in::.;. a suit.




       ..1.s a c-o!k•g.; ~~tt;.dc•nt. ~·r_:.-foumkr ,Justig ).l.~tt't'.:l; p.erfoct&d ,, s.r·.HfllJ of p;:rrty p-ronootioH. H;:- \,·i::onld :~U'ik,,:- .t:ii

       .il3~·,:e1iwnt v.·ii-h <: chib t~'l ?n~~un• r1 minimnrn 0i dl'm1: 3.:11<"">. Hl" '.w:i:h-1 bin' .-1. pt·rfornwr. Tht'n hf.' \\'<J<.tld ~1~Hst

       ;.·,~pt\':'>\'llh.\t1n·~~ frf>m -tlh' frJ.t>.-rnifo:s ;i:nd.~~Q.!"<•n~i.e;; of t'SC l1.n.d r.~cl,,,\. to h.><.rult pr-_,('•J\}'-'. prr;mi:s~nt~ a fret• ticbA

       i0r fl'f.'l"Y tr.n tir·kt"ts .f.old from thf.'ir hnmf's .1r.:rl >1 ml)n!'.'t11rr p;·:!z~ if thf':v ln-cu!_:)rt <";11<: hunclrf>d p.1rtygo2r::;.. Hf'
       to1)k .-, .;·u i:;f s~1ie-;.-the Hl(tH' monl?'y the bar 1n:id€. thi:- bi?~£H h:s (·ut. H v,·,is. ,\ fa.;•)Od. Jinle gig \.mtil hi.:. p.:ir.;:-nts
       b.:-g<J:ll to b<:1th.;-r him ;;i;>t)Ut it: V:<:- don t \Y.ant )"Oll to h.:- J. piU't~· for<n;,··~T, thr.-y F.ak'l


       l!ut it helped. t-.:h~.;; Si:-~m <.md .Justin st.~rh:d Tlnd~r. thJ.t Jn;;tin k:ae-\·: ho1-.:· to p<J}->ul-ut~ ,, pmty. fheY h,\d di?d.'nli
       for~l'.'t<litiond <tdverd.~~h.2;:;: the:~: •·::rnlt><::l ,1 ne,._- di<Jl'<'nge. H<:' 1..,·:mt?d d<>..' ~1pp t:) 1~ai:.r:.h f}\l 1~·ith rh.' JWHl <liffi.~·nit

       ~nJ\~j1 <:>i p.;-<1pl~ ····rvlk~e ~-t.udt.<nt:~ tot' yrit.rn~ <on~ s:'")ci:.tlly ;\(:th:e l<l n<:~d onHn~· dating, 1wvplr who ~;iw it as a

       :"ti9--nflto7.f'd pF11'ti•t>. H.-. h.,<ute<l p.;_-t)plt> M }:<1.B Tlrn~H nfJ~ b~ct. n;;<" th;.y ~-:>~Y .1n .;:.d f.•r:: .F;welK«:-1.~ hot hr(?•n~i::_.. th"'y




       S:o Jn:>.tin min::-d bs {_..:•m<i:-ctJ for mix.kl;; aact :.K.H'Ority £:irh ·-!.\'himt''-" ·w1Jltt?, Thidcr's ~·kc- pr.:-~~id'2'.Ht ot nurlretin~.
       r:>:m-"ntb<?r;;: p;f>ing_ i<• th~· ..;.~~pk· :>Wl·.r.:· 1.H~i te!Bn_g !h-(' _gin-- b;>11ind t!w C\W:>lt<?r ,1hmLt ThH"i<.·~· .rnJ '-"<it•·hinz hi~~ t")'t-:~
       rr~>:P out ;1,: lw b,~~?:;1 <,\-.:i;i.,iu:<$ i.b·t~n.).l: ther'-' m;.-.. lhY1.·~, tw•:r:. o~:iy 200 p~·o-1;!£-. ~~h•.> r ..•snr;1nlw1·~- bu\ they \«Vrt: :?'.O{;




       In thi:- b;;-ginnin_q.•.Ju~0JH~ r.1n mdi\";<hu1i f"<imp.:i.iv.1-:: t<, ~r::courag:;- people re s~g;~ up. H{'" \•.:ouid tE:->t e-&d:i. per~on
       PZT-'.'-Olkily. }k Hf.!~<?h•j:! '.','hiit h~ t'iilh·d SO( tal i.nflU('l:<:'L't\i, .il\'(li.din~ !hi. > <H.,·k1\..¢td t'rowd (•f pt<ople µrnb.:~b[\                  mt;>f
       :n rn:~d of .11H.'''' -.~·;f~-" to m,U:e t·.d~nd:.. ·n,u~ h.z hh T'SC eu!i:'irini th(~ hdp of hh yo~m~erbrvth-E:r ,--,nd si5t~1·, \'.l>•)
       wer..c st\l(1.r;-r:.t3 th,,1.v, Ht> tumdh'd T\nC.f'r <.>ll '-'<1mpn~=- \·.'it!i ii party fo:, :v:o rsc stt1ih__,;_b :cl l;is P<"t f:nt:3. hon;.•-f·


       Hi:- :;ho;,·:~, mf: a i;,hot(; ( i f it fror:1 hHt&gr<un: <>[Kl(.·~ in thi:- :;.nn.;:,J:i~n~. :<:hirt.i.:-;.~ p.o;rtygct>-r::., iaHt-erns, ·"-D -inf'.J:t.<.bi-e
       sl..-1z-. 1\; hi.-;. mothe,··s dt:'.gr!n. h-f' hung <l. gi·'H'l-t T~nrl.:r b?.m:.<2'r from thf' moi. That -..;·ai .~ixty-ty,·.:; ':ef.'b- .'I~•:>, lw
       nys, u-;;i11g !n-5-rn.-gr.:un·s in-r.--f.trre-d mietrii.:- cf ::it;~e. A ye.;;:r and t-::n ·1xeeks after the Y-,)ni paicy. th<:- ~~omp.~nv d..'lim.s
       to h.J:-'E: mArlt.'- a hdi b1!Ji(1n 1n~ueb~._, -and <:(·fb~t>• ! .-J.:;;.•J nilllio:l :.w:ip~~: ~1 d~ry .


       lnspirt:d jn ix:irt ~)\' thf> 1 ~:tlh cf F<i.t.:•:hr)ol·. <.;hkh L1;.md: ...,d fir..-t ,'-l ;'};t~, (olle;<,'..> , ,lo->.-:.'t1;~ n~;>.wd: ;i(;t ju:o-t t(, th\- hy
       Lf'<:1g1~e hut U; sd:<1>'.ik bl<i\\"1) fo1        their go:::d ptffti~:s. Atrer s.;t-.i.1ng 'C'$(', Justin ::tr«l '-\Thitney tr.]Y<:i.:-d t•) .tdwoJ;,
       like SMl' in DaH.1~ . \\1-iitn2\· might :it.'<rHi- ot: ;-; !;~hie in .1 fr,1ti:rnity and ;:umoi..nKe th,1t thE-i.e- wen~ 1.00 hot
       soro-rity girfo <>n the .i.pp- v.·J~ting tor th~ m.:-n ti:- :i-~gn up, rhen nm to the S•Jror:ty iUtd tE-ll them th~ r~wrs;:. TI1ey
       left,'\ h<1il of -s~i.ek,;-rs beh\i.,d !h.>m ..·-iH th<! h;~.t j:iunpus bu:.<. in tb'<' nK:.~t f'X;:Jus.iYt..• nigh1eh1b~.




       J \\','\.<:in ;:i S-Gront~« ::.<1 I lmi":'v·: lK>w to f',f'l mto th.: hr.;;.ins nf ~-·':"•rorit:; g,rls. say::. \\11i~nf.'.\', <-:h;:; is r..o:.·. : :::4 ,J•1.;,tii~
       i-:n<?">-. !w'.< to ge-i: ir:h' i:hto brains ,1:hi thE- p.'lm.~ rJf s-:,rorit\· !id.:-. For <:·ol.le;?E-5 tho?~· d~<l :wt ,-isir .Ju.::.rm hir.,:<l :i
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        ';\!y int<."1'\ie>·•s: ·.~·ith Tiudt•r\ emplt;y~'l..'S. hx>k pl<K'<.' h~ilf in tb.1..·a- 0fi:::.:::'i. lnlf in th~.' ]12,:~tba iut<'.:rn.•rB of bxu>y e;us
        or \\·h\lt> dt":S("E't:idir.:.g in th;. <"l~ntcir fron: hnu1~~h at Soho Hom.,;> or \\·,1~ting for frt> WJl<:-r in dw ;Z?iYd<?nir.-.sc.;-.nt~d
        drh·.,, <•f ~he Bev<:dy Hi1b H•)td. Jnn.i.u ,~,ml S..:.:rn gn:;,· up rich and. r::.;1pui,<.r in a dty ~1.f ~m·fot.:- ,':.ud ::.hr.el>. The.v
        ha"·"'" none otthe affe<"t:lttnr:::; of Hol1y.·\<.'<)1)fi en1th·e~:. (11wy we.w fl>lnr:f'"l sh~rts and sueJikers; th..:-lr &h,1ffd ofrir.;-.
        i.s Httere<l ·~·ith f\""crf g;:.rn d.:~:i:t$) ShlL tb:u- an:t.:- uw:kI.st<mtHng of ';.he !w:trics of ~o·~i-'l Bt,1tus ::-een1~ <i ~H(•du<·.< of
        ~helr t.>nvironmenL S.:::m is th{> hom<'h>.:r<l:<· ..:.f thi< t\;'O, pre.fonirig thE ('Onl,i.'-<my of hi;; z}rlfrJ,-:nd Qf six n10nths.,

        Al.._i;.-;i, ,,-});:, i:.:-tlw dcntg:htf.:1· of ).!id;ud P<.,ll, dw foundt•1· and CEO of D~,it 'foey n,d on Timi~·::-, ;;ml her frit~mis
        e~,11 b<;-r T1!~<.fo· .. dt1. Th!a,g:o ;~<.-1.-<~';:k\-..-.rH'ri ,:~t f.-1.r.:;ih· fonction~~ \';·hen s~,m or-mes thM c-vmpuH:rs are deJ.d.




        d(J,•;nlo~td Tind~r. Hi.s h·:>lW.'. << s-p<:d(AlS z.m1t.•lO"\\'(>D th0 ){1Hi<:-r •>i Eew.111:.· Hits J11d \~vt•..o.l HoU~·\\.~>;;it,J. k·.:ls li:.~·!'

        ,) lMrdy c;z~'"l..rpkt1 hoteL (Ht' S•'k~·tni hi_ dini1Jg· r1¥m11.:hli..• h·c~Hl:>-.e lt ~·.•n;;r;(k~J him -of th{· k•hlw c)f i1w P<'l.>.n~J
        South Be~n:b. i:l l'-lfami)




        Ont" <l<!)' h.c h«d .1 hrn:-h m-e-Hi:.1g: with th.:" prod'...w<'rs <tf The #lfiwly Pn~jr'tf. \'·hich '~ill hf' putting T;n<lr::: in hn
        u1x-omiag ep)srx.io;;>, ;;.-_. .[ rr;-rh: tlk•ri~ witli him. A~ I E-"tt:-ne<l to him. ch<'lt ~.-id< h·is ilrt i:on.f.1Jit<'!nt.~ o•;er iJludooth in
        his hl~'\d: Mel'Cf."des Sl:T Y>ith its Tind:e-r .stf("kff ;;,n the f.par.;- tire, I wondi:red -.-..·hi;-ther LA 's VIP·obfi:-.:>;..·Hl
        ..-:1.~ltun.' hiKl St:•m.ething to di:> ,_.,)th th.: coiapan:---··:.lo e:-qK•!H:ntial growth. lt s .:liffi.:-ult t<.1 im;:tgine Timkr c-c·rnlug.

        {10m Silkon \valh:y, The k~r w Tiixl,;r-···th-1.' tbuble- opt·~n ··is an. idc~< born of 1z•,1l \~0r1d <.':\~rit'1H:~ (this -i:< '~ b<lt
        }-.:~u t\\\.nt ln ,-, bar····to kuow dnt rlu..> p ..~rscn vou w;:ut whit on ''-'Ant~~ you to hit on him(•> h(.'r) .~s vppo:s.:cl h)

        f.ophistk;i;ted Pompurer m~trks. for on>:.:> in the tf">:'h 'iff)drl. the -;.~;<:ir.;Hy gifted,.,,_,..,, l~,;ding !!1&. soc1.1lly s.nrntf"d




        Intt'llir:?-;h·.;- (ind hrrn.;(~r ct HH1$C Ht' i•ZT<::t'd t-:.) h:~ intt'.t-,·i?\':'-.·\l, then ,1dfl<-:d. h'Ji ;';tiU pnt th~ nH.~\·•.:f 01: \':.:•n.
        (',b~-i~1nd:;.·. C<)r;d. i ~ho·u?Jll, .:;t<t;;·i::lz: with '.y)r>?d'";rn .'1ond li?s~~nt:J~t:nt ;:r n;Y ph<'..!111''. H0 t1n·,:.:d ont t<:- f;E· e

        ·~~ntl<?ma1L ;;:ay;.ng hk }:,.,.:;. ;.;s<?d th..; .s:.:;.Yic(' t<,. m1·tl;e fn.:r:.d-:. ,-,~~ nni(·h :u. hr. h.1f. t.:• f.•(ll:t.::,,ft:> hit BDS:\f fofo,h. i !1m

        not int<:< UDS~L bttt. I <lid fe;el h,1r•l<Y \,·h;:-n Bt"r;;. ki$;;.-:d llh".- ,<.ud tht>-:;; when h.: t<:-xt-J.n"::t:;'.;(;?.~d rn.f> ,1 \•:.e4 !.at•H ,>.n<l
        <.«iJlt:-d 111<? <l<trfo~g.


       l ld'k\,.'d lQ a Eu1·0~"'<.:....:m ,,;h:.J -;.o.st•s Tiud ..-r-.diiJ..? H:~\·•;:H:uz foi ,..,(H"k.1 rn... tic,:-d ~~·b...,r;.1,~:\'.:< in tlw .:.H._°b'<:-~t that tirh
       '\\"etV f.11- mort"· ,\p.firn<wi.10}11...·, he ;-;iid. T1it-y :·etiH"uf'd JDf'"%,tg,;:s 1non•. 1 t,1Jke-<J tr•,, tf:('h nmsdtaut in Ln~~ An~eh:~:;
       w~:.o usfi Tinrl<:r to .;-nEY~n zi <luH f:il" O\'i2'l'h· D.Jale o2'r:·r.i~l .::~tu,ltir;n-1il;.e !h.e- la:.;! badk1or p.wty he went u, in Lt'>

       \'.:gat. Th"' gn~·[ ml:"t s<:JnH.· women ou Tln<ler. Pr>op!t> e<1<1pl2<l off. P~q•lf> got n.>h<i'd ~!ayhf>m {'n:::.u?<L I a~ked
       about ;he wonKt1 ·--·,\·erc the:.·, e-r.,th.>r.1 L.).:; \\:g<:s:· Th.:y ~·:t:'n;11 't fo·~-'ls, ;ind they \\'{'f.;n't hoob:,rs. he ~~J.id. They
       didn't hil.\?. j{) be: fh(- ;.i}nw-e €.Xpe-rlEr~<.'l' i.-;. h'h;~t r_,,~opl~ i.trf.' ('j'.Jt~milillg fr,l" \Yb:n they°r~ sin.;:r.]0 -in Veg,;1,::., ht> .:c.ays
        Hi' ~:~1id l.c h.:ts hit>nd:;; thc1l :.•t«rt tu'"in.$ Hp th-.• avv ,l:i soon C!-S th.<.·y land c\! th,,: -~:il'j)O!"{


       On<! <.'.,'l.J::.Ord is. th:.H T1nde·.r d1~•1':.~·'-'P'-'rticrnrtdy fn'<.,\n· tlw b1.«mtifoL I .~\•'ij!f:d cw:· :gEy. DJ.YiJ. hf the right hi>.,,'J.H~t;
       hi:.; plK>!.O l~lild~ m<'- laugh. He h,"td t;i,ken c"'l <:<:nl"ifi:");!)l'.! u·opf'-;he painiull_v $f!',('1.t-;. ;-,.dt1~--,;.nd tm11i:-d it into.< iGi-:f"


       He m~S"-Jge-d .;i, i.:-•-: d1,y:. ia.ter <>ml turn~d O\lt to b.:- th.:- r::>.o.:t G'-:etil;: .-;.exu:il per~m~ l c-b<ttt<:d •,·:-ith on Tin.<l.er, Like
       ln<)St lwt.:-r-.lS~X<.lilL:. l h.we $pl·Ut ~·~-.'U'3 Wi\tching: my               v·· frit>nd-::. ('fUiS& ilPi'.':> ~ike Gnndr \\·1th JW.tt1:d !~\SdWttfon
       HO\> <..'"?! >r it w-.1:..> for winiui !HHJ 'J.) h.a:-'t::· sponLw~'o-;.1;,. ~•(.>X ·with c.•tr.:m~..:-r.>: \\"h,~! w,1s VTVn?, v:ith <·>'f.>BWH Ekt.' nw.
       ('\~n.:tll_\' vrm~ng, ~wl d~><;'il<lH.S. ct k<>.~:t in tlH:f)lY, but in pr.wtk~~ ,:.() (;ni ..:k·.: ,1nil inhihiwrl? The i<k.~ of d <,;6.-::dy fnr

       $tN.1~,hr j)e<:1plf:' tc.ok hold in th~ h.:-t.e.rose.::na.l im<1~-i.nat-ion, bf:'f<1ming ,) S(irt ot hol~· -'?-r,1il. l3nt it nfl·i:r se12n:.ed to

       1\·ork i:·ut. Blf.'ndr h;:.:s ,1. pr.:--u:; srn<lkl f.:.1"hn?. to i.L K1ng "\\'-Ith Fri..?'nd;;.. \\",)f. N<H<"'f''i•·-e;~ dn.u:ki:-nl.\' .and r.nd2d iu <l
       L.1\>'£;UiL



       \\ hi.?:1 Tiud~·r app<.><tH:d. iL~ u;,um1.:ty of Grb:idr.:." i<Xdllon--b.~!!~d .-.µprDM:h d~::;-nied to iudk<1t~ thi\t Gdn<lr 101
       ~trdi~ht p~,_.._,pl""' h.h1 fin:.>]\y au1Yr:l~. :s'".. m:. J.H<l JH~till iusi:.~t thJ:t tk\t's o. mlsch~u:uctt~ri..zati,:in. 1:\r~m:i~,··:l Pt"°'t}pl;_> Nm

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       i),,\ ~d. Ht• had lL·-<·d tiH.- 5,.,....1~·{· fu· (.'.\~!..i,t'J _-(~}; h:fcn·. "'..\J\• it'"'-:d rJf k1;r,>~\ k~~;:!l' when it ~V:Jl<..'$ t:::i ·M,'X, lh""

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       l wkl him I >\\)U.M bo;;> ir:lt:-r«:~t,:d it;. 1ni:e-ti.n;?" up._.:.n s<.Jnh' p<iiaL ·n~is \~·"'~~ t:•.;nt.:ini.:-. H~ .,~·:inll'"d w r.1e.:t ·sp ;:h~n
       ui ..y,ht. \\ h.~n 1 ~,;id Jh'<, h~~ ::.sh?d wh•·. l tn1d h1m l ht«:1 µl.rn,t ;·;it!i fri~r;d:>- H{~ <1df"re<l t0 pic-k J'H~ up fr•:>rJ~ the
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       awH ,yft<C<n.:2rd.
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       l)'Vint. I knev.- r y.·.='uid not be h<;,·i.ng ,;·C$U<tl .-;ex with David
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        \:0n;p;:\ni.r- .. l~l;y:npL1y 'W i;fHOle th:- :is::> ;;f th.c-~r E"'°r':~;-,.>_t. fot· c1s:n.~i .:<><\, t\t~ ph\-.;t,.>.:phv fn'-ir'¢ tlnt l)f'";pie '.'.:hf;
        )·;,mt tl;;\t w)H fin<i h. If C<t:';P<:i S'P.X )::, the !llcti;:t '>f'l'lin;! poim, J\<:t'-'":":er, p<:-O)>l•O' ;';jw don:.\> -lHt kt -.~°iH b<' .:\h:'H2,!:?d




        B<."')"~md Pr<l'«ing fln.! u:;er,-;.. :\r,~ r•?<il lH.·<:~rno!e they lh1'-''? _., I·\..,~o;;b<:><·k ~1-~nnmt. h~)'~· .:-oL"tl<l u dJ:i11g_ <•PP hc:~p <l

        St>-:rnc<tlly it<.:h..;n!U!';..'>U~~ h\)Hlitll both V•H !itV •.'~~~\till ~nconntt•rs .?ind ;diabl~· n>t poti;Htiili p-<:l'Hf.;!.•rs'.:' Ho>.v <:·~)tdd it
        lh.,lf.i hf.>Y nfrnimi-zo(.~ tlw risk r,f rflpr;-?


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        .rn-iDwring: r't..>r·~·o-,i of-ht'·~-;i l hr>f•»d r,~y fri.;,i.;ds \,::•nld H<Jt ..,,·,1it for the do1.:bl-:? •)r,t ..in, llrnt tht•Y w.:nild <'.'.: C'('pily a.s..J.:
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        illHl m?<h> ~~s<"n1d.Hin;:- ow.·rtHH-s rh~it '>'-\):'l.!d h,, nie~ ··.xith '"'~tL~h·t~phk:lH.'>· i.'m!,,~r;·;~,t"-i.t'-':"?- r.::jh'ti._>n~. 1 >-.<.':11 k;- my
        VJM'tr. dnring \\"hid': lki-,_·i.J h:-:,1.r,-d twi\:<: ·· .wz~ <.)llC<..' th<.' 1wxt 1non1iD?~· ~1ild <.>lY.<-" th<.~ <l<~>· ;;1lr.e.rtL1t. :md nvit'e th0
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        U:':X' i.;,. 5he i:.• .J n,u-iv ..~ i'r.-'·' :tt.irkt':-1·, ~S ::<:.«1L' dd, lx:-:.i:utifnl and :;ty1ish. \·."ith ;:t job ::i.t.;:;. H·d1 t't.•niv<my Ctnd :1 l<t';·3e
       Jh"t-..;,·ork ni id.f:T;<l~ ,1nd fan<ih: in the dt\·, c.nd i'h<:-'s iinme(H,1te-ly pf>r('i:'h·;-~b!_.,. a~<> h.'PFY· Wfi:-rnnr.i<12d p<'1'.S(Hl.
        LtlP ino~;t p<?-op1e l intf>!.Yie'l-,:e-<t sh<"' hM trif'd orb.er i:t~rin.g ~-)tt'-5-HnwAl~<·Ht\\''2", Gro:tp<"r. Oh:'upiri.-bnt she
        \,. ,~~; most dr.'1~,·n tG Tir::.it,~.- ·1,.,?c,\U.:.t£ ,.}v~ d,J•.CS!t t b-:,, <: t1) prc-.-i.d,: .s.y lnf<~rmzi.tioc. S1w fo~md ~U(•St µE(•t:ile\, ::-di·
       }]H':S.f:'~ita.tkm >)l1 OkCt<pid t\•.,_·, >.:.aL'tJ~.ted: ~tiso. _\'OU L..i.1..·~, t-:; ~-;fiti;:• S{.' mu•.:l:.._ Tindo;.'L .$-h-1."' ~~y.::. j,~ ju~t b:•w y(,t;_

       ~.,_-,-:uld ;o~o- ,1h0u1 thin::> ;:t ;: bar, ,:,nd ;is f'<l'>>

       }Y•n, dwn n v t0 tiilk to hin.:.




       S!H: join~d Tinder in th<! ruiddb ot Szpn•n:b.:.-r. Sh:! t~·;-i!; ,1b<Jut to ;;1·.:iteh j0hs ~md \)"JS '>i:imiin~ tbn;::s o:fo;.q't <H :1
       pr~;·ioll:S JrA1. '<--...:)she wonh~ :<pi::ud h.~;:;~ of tiln ..0 plil)-ing: <-··n Ti.udt•r. Sh~ t~-a,,~ th•: fi.fsr p;.)f,,~<m 1 int:.~r~·i.en.;.rJ, th<J"o.tgb.

       .not the 0111:> nnte, <<.'hr; r.f'i~rrf:".1 to lt-$.ing Tinder with thl" ;·e~-b plm,J. Coutr.1s:-~· tn ~r);:ih" opinion.<:.. $,\r.-i'h found $h-o?
       (Onh-'i reil more frorn ~1 p\7n:-.:m'~ photos fh;i-n ::.he--C;)U}::l fnn:~ a i:«1n;fuH7: thought-out '\'l."o?bsi~eprorile. A pk!Ul'<" ~$


       Sb{' '"h·..·•tys thiub- tlH.·y're ,;onk kint1 ot fake stodz phow <H~ti .~lways s:;y.;;. n(~ t<) peupi.;- »;ho lHf'.:,; dwm S1:.~ I1ls:o
       fa:ds H \t:f,:i!d: \\"il~,r~ .~guy l-i;,ts hls L:.0i'glii: l think th ..-;. -H: hi.ng. r.i.1 HW


       Sh-:;. r:.:..st;;: ,, bH;;,,,1 n~r. lf slw frd~ ind..:-('it-1v-t>, ~ho: swip<:>:<: \'If;;, :::ho: zkE-:= not .yM,tf' t,m;;- t!~·ins; t,,; c0my,:;e 1rri,~a1
       :llt"S:'~f<:"3~ -J~1sr 5,1~· S<"Hi~ 11-dbh:i. She ai:-0·~{_"'.:'f"nt1'!.:e-prt..0 1on.gPd ?1';t<s:;:,)gin3: J:,u:t .~-::<mt c1· n<..-:>t. T.:.> do ,):t\!hmg

       e!;;.; :.s ,1 w:1-$tt> ::-done,-; b-1<:ren·- (Ti.:;d.H ~, ic><'.:..ti~•n·hil~e<l red:i dr<'lin.'> r-lKr:.: h.:i:tten.:s ! On 7he-c"s~.1l-,;.-:-x
       que:;:t:o1L she-'$ net iut.;cr.est.:-rt. In tiie b<?:?:mnns. sonv:-1:.ni:- me'i:s.Jg:ef. her. So it V(•1.t re-en Tin.:l.:-r Y'>U-1."t' int•::i


       I(:> fl<)t frnt .sht< i:;n·t irih.1 _c(:$lW1 ;!,f.':-\.. r h<i·:::' p·.•c:p!e th.'<l I cin \l!<.> no th~E t•.';l~· !r l ;:·J;~~· 1.0, !'he- ,~;<it"\. l ~~_,_,y/t 1.~.;.ed
       U) (;~ic1 fr><:' <.)f tht>ili.




       $.-u:~1ks J~h~t fo-m· Tlnriec,!.-He:-: ~'·""'·.:. fme. ln~t rh.;: fifth ;.\-;i.;. <i;wut th:t~.f' miiK,r mi.r,vh~:: ~1f .~oic6d~nc<:- tL.1t

       :.c:mi:Hm-::_; m ..=i.nifest tlwm.s:d,-E-'S arnid th..~ th.::-on.gs of:'\.:·w Yorl: Cit~:. One :.-.r~lu.>nd ni~JiL $.;,r,1h ·»;ent lo,"\ ln.r
       ,md gvt Y<:ry, ''>;'.'ry dnm"k. 1li.: ni:xt mot·!~in~, lwr l"rii:;nd.> ~t~l:~d 11~r ,\b:·llf tho:; su:: whcst' nnmbH ;;hE: ~<:.•t. \·Vh;,t
       tm':' $ihc <•;-;kn.-L Her n11::mory r.;tt:~ foy..m... H,~r friPmb \\'{'<<' iq".>p,:;ll{·<.l·--0nly the h'.::-.-'t··le·t~kioig ~)..'Yin tlK' biir~ .Slw
       had fit) nwm;::.ry (_,f thi" €"\·ent . sh~: '"'"·f.-nt. <.m 'J:ind1~!·. ~wipin~ dl!>il>)nde.nt1y. Sh~ r.;;~ur;.ed z. that .-'h~·d b~t·rt h~r.;in::;:
       •Yith d <nan ,,,-h•;s<:- photo~ wert> i'Uk-;sh, ,,·h.~·m ~:.h<" h;Hl f.-wipe<l to thi;- right <l~fpire ~hf' pr>:-~'.f:'.nf'i:> of O.lk ,,,.·<;>iffl
       ;nti.stiC' ~~lfie rh.-=it m.'I{.~<:< th-e g.uy k:i>l·: like- kind oi ,.,_ do~1 ..~!H:·h.ng Tht?y d1orti:-rl \">ith th-t- us•1al b.;;naLtit':f: Il<?y <tnd
       f·k•\/.'i )'"OlH"d.1~·? <md. How·-5')."):Jr \n:o._ot.-end? H~ ::--sh·d .foi· her mnnher. She g.;we- it fo him. Then th"E" m<:~ic,1l
       mom<:-nt: I hav<;> .:Vim~:hing ..-.:eird to teH y.-:•u, h-e .s.aid. H~ h.:t,:l not b':"en -st•re untii s.he &~1\·e hin1 tht: pro;::f-h~r




       K;r!:he-rin~ and :cli. ihe ok1<::n~·on!..'tl1 s~.n<l th:: youn$e!' nunt. m..:t :.:u: \\'htH he -:.·°"mernl~1-s C.$ ~ ...~·dnL kir;d of fo1K;:

       isff rhat'~· iH S(;f!W kiud oi l<::.f..<yrinth.




       lte;;pit<.' th~· inki~:>it~· ()f tht:~1 te~~i.n!".. t1ir:;· did ;w~ 5:t ..ut :~ui:iug vul ritht ~,,.,.,.. ~              fo~:te~1d. lhlO'\·t,->lked          Tl;fo<\' t;l1Jt'fhl
       their ff<'~r-:t s<?su,11 h;.'>kirit>-:.. fr;?-ir p->1:-:t. ;;.p:o-:.inl hi-!m';t"." . 'd:<?ir :"-<fl.diction pt::::iblem~. It Skf'U".:<!-d lib?- .a t. ,ir thing t·:i
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       <l•.), qy_s. EE. :>1<-:~·h<:- it "·a5n't ::ex;;. hut th<:- d:::-me m· it W.:1.5: !llOl'E- intinwt€., 11k.: 1 ne-:d t::• k11•:i'>\' you helt~!· ~s-Hki'.
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        n::.\O':-: v;;;nt ~·.. her pktC•'.:. rl.u..<~· h.Hl ::<..-:,. h \'-.,b gn:.~t. \Buth V<~ltk·~ (i)flfirn;.eL1 thiO>.} T'hi!H ~h<.'y had~«"-'. :;g.r.m. He
        l..:.fr aitt:r m~dnie;.ht, li~<<:u:sv 1:<' h~td to \,.,),.kin th<? 111-:,.rnin.r.. ·nrnt fri<:>~' lH,Y:.<:n r me;: ~l;?:i>in i;:. :nr;i:e b<:·ct<"US\' th-:.:y
        li•:fi i.i:r;~•n\i;·ui~~Hiy i"i!r fvm1 E-tl<..'h (<tih'L I ruight not t,<J '.'Ul k' P.ush1-.id..:., \-.·here he Exo:>s \•..-Jth hi.~ r;_.unH,~<..:t. ..·.;;,




        1 <1~1~ EE if lie i::.: 1ookint; for ~L iii lhi.;oud. He i·-J:~-~ li<.'.' .,,·<;;.1,J.j w~e- .\1 v~•rtn(;i' ~-'JJ..?, but ~iwt ht.., stiH '•'-\1.Ut:> 'tO nw.;o;;
        f•N~'"h." tlu~ h..:-·;;: iut<·ti::st~d -in µol:\·,-rmltiy. He <.<.rtrlbm-:c:- his tli.'~dbi.l:itv to !wv.·· h:;- ,~-i"l.s: n:i~~?d. in 3. h(-tn1? i·:h.::ri:

        ,,{'<.;.•ptr<1K;~ {if ::-,~Hial \}i;·<..'Viity \'.i~.:' ;::·:~·n .{~th;_- d.:h;;;ht<::e.;."..1 p•;hti~·<•l pu:;tili'JlL f1u ... kfii1iH.<ly L}th:e;            i,; ii .~:..'th-:~. he
       ~'il}'t'. ln rh' ;;dh.::•A bein~ ~··:.ir 1-n~•H' t;p.;-r.-ma:dcd l"o cn;ytli:in)!.



        Eli is pt.<r~ uing .:; s.;::x1~,1! n<iff,1tiYe that dt>e.5-n t 0nd in dos\ore. th,-<t ,-L.:-::n ·1 b>:>.:ir the exp..:ct~t;.:ms nf g.;-~~d?I\"'<l
        ;·inE;~s     A:id Kh<>th,;-r it;:; for s<?;-; <:1r j;.ts.~ for r:.1'-'-.?ting ~~,:op!•:. m<1Ybt.~ Ti11.:k·r ,·,:-ill be th.:- ,-.,pp for t.h2 n<:\·er ·.o:nd.ing
        pr-cseni. for lh<..• idt-.\ v! (•U~ -~ lif<' n(lt <t;: tuixnin;-.t1ng in .~ L\!:Opy-endin~; bu a bu:? se;i1:-s of €!i(-,)~rnt..:r::.. ~0XU<d or
       o:.he-.,\i3<'.:. \'d:f:'n i wJ.Lc.hs·d ~bo• four.d~·r::: 1..if T:inda r:l'-'ing 1.1.:te!Yk\~·~;. -.2Y,.,•ry 1;epr.•rt<:e tlH:;.- ~pol<<;,' ;;. ith .;C'<;;"Hh'd to
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        <uk h.(1\\" m,1m· m~n'i<~gi's- had r.!suiu:·d. A.fo.:-r- taHdH3, to p.:ovle <-.bont their ~~xpE:-ri;:.>-1-;ei.:i, T n»1H2<c> tlrnt to rhink
       ,,t;r;ut mr\?Ti~::;,,- i:~ t:) co;uph~t.-:-ly- mL~::. tbe i:omt of Tit:i(h:·r. Tb; ,-,µy h Jb0ut th-i:: W(dd.<tWJU!1-d y...~u. th<:- pl?c.<ph" iu
       '.'>(JUr mHn~di~;e ;·i.cinity. and the <le.~1.:.·~5 of,, port:.:-nlal' momt'm.


        Eli n.e:-11): hb~s Tmder. He con.sid<2-rS ii w h,: fo.<'." rnosr h<•nt-st form of on~in<: ~~.:>.ting Bt:> !o-.·~:: th<: f,:dfng of
        :•~{·riris:. <i h~gb •\'l~L<iut z.,;,n.~t'.<'.fU<.'"f!:.';_•s. \\'hct•u i m~~· h;r1>. he lE1d JUS:I h,·id ;m <..'lK<:ri.urt.:r iw cil!.~d a»<fl>L hHt th;:.t




       51;.;; m::--s,o,"t_:.::;-rl .H }•) P.)!. on '11l;mk3:1,.j\ ii<:,'. niilr:... Shi:- c\\1,; ~I \'<\~mari nith ~d1i..'"IH1 h~ b<>.<.l t.>,'nlsit><."'D<:'"d from Ti;;..-k·r
       to text mi:-z<q;?:ir.:;;:. hut rhi~ µc;s.,;-.j ,1 j»rnbl;;-1:-:-: H<?" <-'."",u1d D<.:>t r.::n1eml.•i:-r ;-.-ho '."hi? "·"·,5, ~d1.1t ;tr J.:..;;k~.-d lik;:-. <'ilid
       'Yorst c•t .ziIL h.:r n<im.:-. Ht- tm ')'1 1 train JSi)'h\:y. He <:.rriY.:rl ~l ,-l ~Jo.;::.;;; dc(mn,:m buikHn~. in IK·•':;:.r \fani;;~t.t.-.:.:c
       S~1e h~d l:Ot ~:d ;;.;·ri\>2-d hi:.i.m<::. ,,:hid·, me.0;rit Di ,~aH{'d and 2c•t hi:-r •/,;1!ci~ nw.fl. from ~·.-hkh (·,,,·i.fa t{'lit<t) hf"

       l<:::tnl2(l. ht.<r ider::uty b..:i:·>rt> :.::hi;. ,""IHi'.:.;.-d. lt rnnH·<.t (•Ul s.h~: ~ OJ"ic;' i)l rh~ <)l).0::-5 \\•iK1 -hn.' C!i Tit:{!~L <Uhi rm lil:~,. \'\·b:,
       .orn.' yf.... ~ t.dlnn& w .:.nt» J m .:~-chubb~· ,Je,~·. iw: t .. <.?th :Ir-.1 •(·]!f...,,- bt><:-<m:::c<? I <:i1i1il t:offt'-l.'. ,_,:H.t \O-t;.r.;- ',;or<: ~'.~f.".l«.:'~::;.fui




       Bnt th<? n{gbt ,~·E-ut dv~·.-11hiH frcn: tb~r{'_ Thf'y und.re~sE-d. .·::nd l:i;:;:;;.ed ,·rn.d ~:>t ir:.t>; h<?d t.c.gi?th{'r, bur the.·; didr1 ·t
       (C,r.m·ct. Hi: 5-pent the night, 1.b}U!Sh :$h<: didn·t i.:d like h<1~:ins s~x. She talked n.~any fast .and rnenti1:in..:-d iH'f
        inktltk•Y! to t•:c~:i11 h.;-n.;i=h of! ...'.\t~ti<?-r~ilL L1> fr·lt Ek~ J.Vrlupt.' f.h:.> -;.\·:~"!: di:><oµpoint1"d tri hill"L th.:1t ht> foik•.i to ntt.-d
        h<'r ;:;::.,:p.~t'LHkm.:-. H·~ h:ft in 1fE· m:.w;;ir.~. r ~~d-:. if th(.c Oh'C.tmlt>Td 0.::p1vs:;~d him. Hi:- thinks fDl i.l mim.lt-('. tilts h~
       l,.o:~d '!"t) thr'-"" ;..hk·. !lrt>n +A\'S Ho::>: .-\t 1h~: <:-rld .._-.f th\> ,t;y            I ::.z(}t 1(.< S.:?E- h~"l n?!h d.
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       f';.;.::-s: Tv 1.--,~·"BH :;. R"aso:'<- ;;) :;,,;;i:;,~1::::t­   Tr'<' .":)t(•t,. f3f>:!::5 Iv'! .. ,:;-, ~·~c-. :.i \~'<I'
       ·~-•·ur ·.~:0·~ ·JJ; ·s:v:l:,):<,i                               ~;r,-jf"-'"""! E~:t_.,:1 F:<<:>;:·::i ;..z:... i!
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               Sarah Paulson's Career Advice?   Life On The lv1ove: Look Book
               Don't Succeed So Early




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                      Tinder's First Non-Dating Feature Is Speed Networking
                      For Forbes' 30 Under 30
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THE~ur
,:L.                                                                                            nymag.com/thecut/
       October 10, 2013 10:01 a.m.

       How Tinder Solved Online Dating for Women
       By Ann Friedman




         In July, most of my single female friends weren't playing around with online dating at all. They
         were busy with work and friends and not looking to settle down immediately, so why put the time
         and effort into meticulously constructing a profile, screening dozens of messages, and going on
         dates with guys who look nothing like their pictures? By August, all they could talk about was
         Tinder. They were each meeting a couple of men a week. By September, two were exclusively
         dating guys they'd met via the app. My friend Jenny refers to her boyfriend as her "Tinderoni
         (http://w'vvw.dailymotion.com/video/x1vd1k_bobb:v-brown-tendcroni-live_music) ."


         The app (http:/ /nymag.com/theeut/201s/03/dating-app-that.-truly-appeals-to-all-genders.htrnl)
         is simple: You're served a succession of photos of people who meet your age, gender, and location
         criteria. You swipe right if you want to meet someone, and s'Nipe left if you don't. If you both
         swipe right, you can message each other. It's fast and casual - a far cry from many dating sites'
         detailed filters for religion or hobbies. Tinder just pulls photos and basic data from Facebook,
         and in almost no time at an, users get to do exactly what we an do in social settings anyway:
         judge people based on appearance alone.


         This is exactly the sort of scenario that we've been told women don't want. "I think that women
         more often than not \!\>ill say that they're looking for something casual, and there's nothing wrong
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    with any of that. I think deep down, though, most women don't actually believe that," says Anly
    Webb (http:/ /vV\'<"W.ted.com/talks/amy_ webb_how_j_hacked __online....dating.html), author of
    Data: A Love Story (hllp://www.datulovE~story.com/) , summarizing the conventional
    wisdom. "Most women do want to be in a long-term relationship." But 45 percent of Tinder users
    are women - and they seem to be just as comfortable with the app's low-commitment
    objectification as its male users.


    Before Tinder, hetero dating apps were something of a non-starter. Years after the hookup app
    Grindr had become fully ensconced in gay life, the online dating industry had yet to counter with a
    version that would appeal to women
    (http://wwvv.newyorker.com/online/blogs/culture/2013/02/dating-app-for-\vomen-that-isnt-
    avvful.html). Tinder has quickly surpassed previous efforts - like Blendr or OkCupid Locals -
    and is now the fastest-growing free dating app in the United States, facilitating more than 2
    million matches per day. Of roughly 200 million ratings per day, both men and women swipe left
    about 70 percent the time, and swipe right about 30 percent. Women are using it, and in roughly
    the same way as men.


    Pulling in data from Facebook profiles was once thought of as the third rail of dating sites,
    betraying the lingering shame users felt about connecting their "real life" vdth their online
    courtships. But women like the fact that with Facebook data comes social accountability. Even
    though a profile picture might still be five years out of date, Facebook is ruthless about cracking
    dmvn on fake accounts, and Tinder shows you if you have mutual friends, who can offer further
    vetting.


    Then there was the old trope that, unlike superficial men, women need detailed information on a
    guy before they decide they're interested. This, too, is disproved by Tinder. As a bonus, its non-
    profile profile circumvents the panic that comes with signing up for most dating sites and
    carefully answering dozens of questions designed to convey who you are and what you're looking
    for in a life partner. Webb, who recently gave a TED Talk
    (http://www.Led.com/talks/amy_webb_how_i_hacked_online_dating.html) about her strategic
    approach to online dating, has gotten 1,300 e-mails in the last week - Bo percent of which, she
    estimates, are from "people agonizing over what to put in their profile." When the profile goes
    away, so does much of the stress. "I wasn't really open to the idea of strangers (or even worse,
    friends) coming across an online profile with me describing in depth," says a 26-year-old woman
    who lives in Brooklyn. On Tinder, though, 'Tm not embarrassed to know that they might have
    seen five pictures of me and a Simpsons quote, as opposed to my deepest, darkest desires."


    Crucially, Tinder also solves the inbox onslaught problem women face on conventional dating
    sites, where some men send messages en masse, overwhelming female users with the same
    useless "Hi, what's up?;)" On Tinder, users only get texts from people they've indicated an
    interest in. And Tinder doesn't allow people to message each other with photos. This is a perk that
    gay users have come to appreciate as we11. "It's just way more mainstream" than Grinch-, one
    friend told me. "The whole dick pie thing is not part of it."


    Perhaps most important, Tinder is a far cry from the exercise in self-flagellation that online
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           dating has come to signify for many women. "It didn't feel like offering yourself on a plate to a
           collection of the world's 1onelies,"' says Natasha Bird, who lives in London. "It also allowed for
           the more casual type of connection vvithout seeming totally sleazy." Tinder is fun. People sign up
           because they're drunk and a friend dares them. Or their circle of friends gets to chatting about it
           at a party, and everyone signs up together. Several people they told me they call it "playing
           Tinder," and a few had even invented drinking games: Take one tequila shot for each bathroom-
           mirror selfie you come across, and two for each person you know IRL. (Or find your own meme.
           My friend Kenesha has a large collection of screenshots of men posing with tigers.) If you haven't
           sunk hours into meticulously creating a profile that you hope conveys the "real you," then you
           aren't as hurt when you're rejected.


           "Tinder was just this funny but also kind of exciting and socially acceptable thing I could do, and
           with low expectations," says Erin, who lives in Minneapolis and met her boyfriend when they both
           sv.<iped right. Even online dating veterans crave the serendipity of meeting a partner "organically,"
           v.<ithout the comparison-shopping pressure to determine whether he or she is soul-mate material.
           It's hard to feel romantic when you're running through the list of red flags you noticed on
           someone's profile, or if you've spent the past week obsessively Googling them.


           Sti11, with less information and more spontaneity come a certain amount of confusion. One of the
           most common complaints I heard about Tinder, especially from men, was "I don't know what it's
           for." If pay-to-play sites like Match.com are for serious relationships, and free sites like OkCupid
           are for dating, then what about Tinder? Right now, the answer could be "casual hookups" or
           "last-minute coffee dates you feel free to flake on." But that may change as use of the app
           expands. Tinder co-founder Justin Mateen says they've heard of more than 100 marriage
           proposals among Tinder-matched couples.


           Webb thinks most unhappy single people are dissatisfied v.ith dating, online and off, because they
           rarely stop to think about what they really want. Tinder's popularity offers evidence that even
           thoughtful singles have no clue as to what's going to make them happy. Both men and women
           sent me dozens of stories about how they signed up as a joke and planned to use the site for
           casual hookups, then ended up having meaningful relationships or, in one case, a two-week
           romantic getaway to South America. Maybe, when it comes to online dating, ignorance leads to
           bliss.




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  How To Use It


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Cracking The Tinder Code: Love In The Age Of Algorithms
I swapped Tinder accounts with a female co-worker. Then Tinder's data team reviewed our performance. Here's what we learned.



       Alex Kantrowitz
       BuzzFeed News Reporter
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   I used to be terrible at Tinder - but for a few weeks this summer, I was pretty good.
   Women responded to my messages. Our chats went deeper than usual. Previously stalled
   discussions were suddenly revived and I was right-swiped with increasing frequency. I
   began to understand my matches in a way I hadn't previously, but not because of anything
   I'd done. My Tinder messages were being composed by a woman who also set up my
   profile. And I was using Tinder's on-staff sociologist's input to refine my approach.


   I handed over my account to my colleague, Jessica Misener, on a hunch (correct) that I
   wasn't doing things right on Tinder. And while Jessica didn't really need the help, I took
   over her account as well. We embarked on our great switcheroo in an attempt to get to the
   bottom of what makes Tinder tick, customizing each other's profiles to what we thought
   people of our gender wanted, releasing those accounts into the wild, and then comparing
   the results to our past luck.


   We swapped accounts on the condition that no message could be sent ·without the explicit
   approval of its real owner - this was a quest to understand the inner workings of the
   platform, not dupe people. And, when we were done, we brought our findings to Tinder,
   which reviewed them and - based on its own research including some previously
   unreleased data - told us what we'd done right and wrong. Spoiler: I had a lot to learn.
   And judging from the Tinder profiles we saw, you probably do too.
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   Downloaded by more than 100 million people, Tinder is responsible for some 1.5 million
   in-person dates each week, according to its creators. It's helped to normalize "meeting
   online." Tinder did this with an ingeniously simple swipe "right for like"/ "svvipe left for
   dislike" vetting process, connecting people only when there is mutual interest. Its soaring
   popularity has helped revolutionize modern dating, shifting us from finding love via
   chance to finding it via algorithm.




              Wearing a hat in your Tinder profile pi
                That'll hurt your chances by 12%.

   The secrets of Tinder's code lie in the hands of people like Jess Carbino, a Tinder
   employee with a sociology PhD from UCLA. She has a lot of insight into what works on
   Tinder and what doesn't. For instance: Wearing glasses in your profile picture, whether
   for vision or sun, decreases your chances of being right-swiped by 15%. And a hat? That'll
   hurt your chances by 12%.


   "It's really important for people to able to glean a great deal about your face, which
   indicates things beyond attractiveness," Carbino explained in a phone interview from
   Tinder's Los Angeles headquarters last week. Tinder is willing to share a good deal of this
   data because, at the end of the day, it wants people to find satisfying matches. And, if you
   use Tinder, you probably want more matches too. So take your damn hat off. And, while
   you're at it, those shades need to go too.


   In Trusted Hands




   StocJ..:.. colors/ Getty ff1h3ge.s




   Looking through the men showing up on Jessica's Tinder account, I saw many dudes
   presenting themselves with blurry pictures, mirror selfies, hats, nowhere-looking gazes,
   and other off-the-charts terrible selfies. When I saw a guy with a clear picture, smiling
   and looking toward the camera, I instantly swiped right.
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   When Jessica set up my profile, she chose a picture of me looking sideways to start, and
   then followed with a few looking straight at the camera. A week in, thinking about that
   man with the straightforward smile, I suggested we switch up my own profile. We chose a
   photo I didn't love, but where I looked straight at the camera and smiled. It worked
   significantly better than my previous profile pie.




           "Individuals who are front facing are 20%
               more likely to be swiped right on."

   The forward-facing smile was the right move, according to Tinder's Carbino. "Individuals
   who are front facing are 20% more likely to be swiped right on, relative to their
   counterparts who are facing sideways or not showing themselves," Carbino said. Even
   though I felt the smiling picture was worse than any other, it made a big difference: You
   are 14% more likely to be swiped right on if you smile on Tinder, Carbino said.


   After Jessica landed a few matches on my behalf, I watched in amazement as she crafted
   thoughtful, personalized messages to each. My opening message is perhaps best described
   as "How's it going?" Jessica describes hers as "Not just, 'Oh cool you're from North
   Carolina? I like A<>heville a lot,' but: 'Oh you're from North Carolina? I've always
   wondered if the Carolinas have a rivalry about which is better. like South Carolina is
   OBVIOUSLY cooler but North Carolina is literally on top of it, which seems significant to
   me."'


   Jessica's method proved effective. Conversations kicked off\<\'ith thoughtful messages that
   were far richer than my usual "Hey," "Sup," "Nm, U'?" variety. And Tinder's data seems to
   bear this out. Carbino said Tinder is conducting a messaging analysis study, and its initial
   results indicate more thoughtful messages are more likely to generate responses. You can
   also always send a GIF, which is 30% more likely to get a response, according to Carbino.


   Viewing Tinder from my colleague Jessica's vantage point, I didn't need any special
   conversational tactics. If anything, the biggest challenge was weeding people out.


   Stampede
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   Running Jessica's account felt like watching dozens of men attempting to run through the
   same tiny door at once. It was overwhelming. As I swiped right, a pattern emerged:
   Match. Match. Match. Match. Message. Message. Message. Message. These guys meant
   business. They were relentless.


   Watching them in action, I began to rethink one of my core Tinder p1incipals: Never
   double-text. Sending a message, waiting, and sending another message despite no
   response had Jong been no-go territory for me. It felt needy, and a bit delusional. If
   someone was interested, they'd respond. If not, they wouldn't. But as I witnessed the
   volume and pace of messages hitting Jessica's Tinder, I very quickly saw the folly of my
   ways.


   Double-texting works, said Carbino, who calls it re-engagement. "The idea of re-
   engagement, if done in a way that's appropiiate, can be quite effective," she told me. "You
   can say something along the lines of, 'Hey, it's time to step up your Tinder text game' and
   make a joke out of it to re-engage them and to try to further the conversation along in a
   way that's more meaningful."


   On Tinder, you can also use a "Super Like" button once every 24 hours to signal more
   interest than the ordinary like, but the people using this feature felt a bit off to me, so I
   started swiping left and rejecting them all out of habit. That wasn't a normal behavior.
   Super Likers, according to Tinder, are three times more likely to match, and their
   conversations typically last 70% longer than those of non-Super Likers.


   Super Like or not, you may want to go for the real-world encounter as early as possible.
   People who meet in person via Tinder typically do so within two to seven days of
   matching, according to Carbino.


   Tinder God Emerges
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   S1photography / Gelly fmctges




   When you first sign up for Tinder, a text overlay
   appears on the app urging you to "Swipe more to                  "I always
   help us learn your preferences. The more you swipe,
   the better our recommendations!" The prompt is
                                                                    said great
   subtle, and it's also the most prominent indicator               advertising
   that Tinder sorts the profiles it shows you via an               should be
   algorithm - a mathematical formula that pulls in a
                                                                    like dating."
   number of data points and makes decisions about
   who comes next.


   The keys to Tinder's algorithm are held by Dan Gould, a former advertising technology
   executive who spent the early part of his career attempting to match the right ad to the
   right person at the right time - now he's doing it with people. That a former ad-tech exec
   now holds a power position at a dating company says a lot about the role of algorithms in
   romance today. "I always said great advertising should be like dating," Gould told me. "If
   advertising works perfectly, it would be like finding that great partner for you. It would
   find the right thing, at the right time, at the right price, and maybe something you didn't
   even know."


   According to Gould, Tinder's algorithm gives a lot of weight to the choices you make while
   setting preferences. Distance ranges, gender, and age preferences - all these things need
   to match up before Tinder will show you a potential match. Two other critical factors are
   distance and recency. Distance is straightforward: Being closer gives you an edge. But
   "active time," i.e., recency, is more intriguing. "People who have been active recently are
   more likely to come back soon and interact with other people." Gould said. "While I
   probably shouldn't say how you can game the system, the one thing that a person can
   really do to appear to a lot more people and get more matches is to be active recently. If I
   were trying to get more matches I would open the app every hour and just swipe a little
   bit."
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   Swipe Life




   Derru1e1 re /Getty !mag es




   In their book Modern Romance: An Investigation, the comedian Aziz Ansari and New
   York University sociology professor Eric Klinenberg describe asking a woman to project
   her OkCupid inbox on a screen in an LA comedy club. "The moment we put her inbox up
   on the screen, you could see every man in the room just deflate," Klinenberg said in a
   recent phone interview. "They suddenly realized what they were up against."


   The draw of that choice is so powerful that Seattle-based Ricky Burnett, founder of a
   company called Prnject Attraction, a dating coaching service that promises to help men
   "become the confident, bad ass guy that women obsess over," said he sees a lot less
   competition when trying to meet someone in real life. "I consider it to be a lost art these
   days," he said. "You kind of put people in awe when you just walk up to them and say 'hi."'


   Proliferation of choice can have negative consequences as well. With so many potential
   matches to swipe on, they all become a bit more ... disposable. "Go back to [the pre-Tinder]
   era," said relationship psychologist Karen Sherman. "If you didn't meet somebody in
   college then what the hell were you going to do? Because then you were pretty much out
   of possibilities. Now, so what?


   For Carbino, algorithmically assisted courtship is a clear net positive. "There's so much
   data out there that suggests that individuals who meet their partners on line have more
   satisfactory relationships and are more likely to get married faster, relative to individuals
   who meet offline," she said.


   Klinenberg is of a similar opinion. He likes to tell a sto1y of how he and Ansari once asked
   a "pretty average looking" guy for a look at his dating inbox. The guy, Klinenberg said, had
   messages from women who "30 years ago, if he had gone to a bar and they had given him
   their phone number, he would've gone crazy, it would've been the greatest night of his
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   life." There's a lesson in that in box: "There's a Jot of volume. Even if that guy was striking
   out 95% of the time, it's a whole lot easier to start flirting with someone and ask them out
   online, than it is in person."


   For me, the week I swapped Tinder accounts with Jessica helped answer a question I'd
   long struggled with when using the app: "What did I do wrong?" Now, I know, and
   knowledge is power.


   Now if you'll excuse me, I have some swiping to do.


   Watch the video here:

      How To Get More Matches On Tinder




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                                                  Your Email Address



                                                More News




                                                Your Self-Driving Tesla !s Coming




                                                A Teen's Brutal Murder Led Thousands
                                                Of Women To Protest Against Gender
                                                Violence




                                                Former Teacher Slits His Throat In
                                                Court After Being Convicted Of Raping
                                                Girl




                                                Former Wells Fargo Banker Says He
                                                Was Pressured To Sign Mexicans Up
                                                For Unneeded Accounts




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                                                Jury Clears NBA Star Derrick Rose And
                                                Two Friends In Civil Rape Case
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                                                Apple To Announce New Macs At
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                                                Mark Zuckerberg Defends Peter Thiel
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                                                People Are Freaking Out About Hillary
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                                                Donald Trump After He Said "Bad
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                                                Last Debate Was RIGGED
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                                                                                  Women Are Reclaiming Their
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                       APPENDIX8
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    We got inside the 'Tinder for elites' - here's what it's
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    League, so ,.._.e w<-nt in-sid~ to find out for om-selw•s \"\'httt th.;. a.pp is really like to use.




   This is Amanda Bradford. She founded The League with the goal of making power couples
   by matching up highly me>tivated single professionals.
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    Th• Leagu•'s founder, Amanda Bradford.




    The League launched in San Francisco earlier this year, and a few months ago it launched in
    New York City, too.




    Right now the app is still in private beta in New York, but we were able to get a peek inside.




          HowvvHl you guidf.::' yourflnn's vision tor 9rowth?




   Before you can get into The League, you have to sign up. You'll be put 011 a waiting list until
   you're approved ...


        'Ji IE
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    Once you're finally in and load the app, here's the first screen you see.




    loading ...

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   Every day, you're shown only five potential matches to whom you can say yes or no.

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         About Me                                          \q

                                                          0
        Education
       Profession


         Interests


           Religion
                                                       •
    Like Tinder and Hinge, you can swipe right to indicate you're interested in someone or swipe
    left if you'd like to pass. Tap the icon on the top right corner to see your matches.

     •••oo AT&T 9                          9:53 AM
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        Education
       Profession


         Interests




    The league puts all your matches in one place. But unlike other dating apps, your matches
    on The League have an expiration date. If you don't respond within three weeks, your match
    wil! disappear. You can also sort your matches by "best match," "recent," "popular," and
    "least flaky."

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Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 181 of 192




    Every user on The league has a "concierge" who answers your questions about the app and
    lets you know about in-app updates.

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          Until we've fixed our load issues
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         remember: cool confident folks
         always make the first move ,. __




    Users set their preferences for matches. The league's big promise is that you're only shown
    other users who fit your specific criteria, and your profile will only be shown to others that
    fit your criteria, too. That criteria, apparently, includes gender, age, height, distance,
    education, and ethnicity.

                                                                                    710/n -     i•
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              Looking For

                           Age


                      Height



                  Distance


                  Ethnicity


                Education




    Here's Business Insider producer Sam Rega's profile. You can see where he's based (New
    York), his age and height, and his education, profession, and interests. Tap on the icon on
    the top left corner, and you'll be shown the app's menu.

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Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 183 of 192




        Education
       Profession




          Interests




    Here's Sam's profile. You can add pictures of yourself, along with as much or as little
    biographical information as you'd like.

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               Photos
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FASHION & STYLE



Hinge, a Dating App, Introduces Friends
of Friends
By KRISTIN TICE STUDEMAN          MARCH 28, 2014

Mobile dating apps may be all the rage these days, but they're not for everyone.

     Blendr, a location-based app for straight people, was created by the same folks
as Grindr and retains much of its hookup focus. And Tinder, another hugely popular
app, puts a premium on superficial looks, as users swipe through an endless photo
carousel of potential mates.

     What happened to finding love the old-fashioned way: through mutual friends?

    That is the premise behind Hinge, the next mobile matchmaking app that is
catching on \vith urban millennials. At first glance, it looks very much like Tinder.
But instead of random strangers, Hinge matches only users who share Facebook
friends.

     For some, that makes the whole thing feel less creepy.

    "I've met up \vith someone on Hinge because you have mutual friends, so you
can be 80 percent sure they're not a full-on wacko," said Tibby Iz, 28, a digital
content strategist who lives in the East Village.
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           The app was released last year by Justin McLeod, a 29-year-old tech
       entrepreneur from Louisville, Ky., and has gained momentum in recent months as it
       expands to more cities. (It is currently in seven cities: New York, Chicago,
       Washington, Boston, San Francisco, Philadelphia and Atlanta. Dallas and Los
       Angeles are next.)

           To get started, users sign in using Facebook and select their preferences,
       including location, sexual orientation and age (it caps at 35). Every day at noon, the
       app sends a list of potential matches culled from one's Facebook network.

           "I use it every day," said Melissa Ellard, 23, who runs Fashion Force, an online
       trade show based in Washington. "Once the clock hits noon, I can't wait to see my
       batch of potential new matches."

            "I have found that on other dating sites, such as Tinder, all men want to do is
       use cheesy pickup lines and they are looking for one-night stands," she added.

           Male users who were interviewed said that the a.pp encourages more socially
       accountable behavior.

            "Hinge cuts through the randomness of Tinder," said Daniel Matz, a 29-year-old
       real estate finance analyst in New York, who said he uses the app daily. "I can take
       some comfort that she knows some of the same people I do."

           Mr. McLeod said his app has made more than a million matches, including one
      that resulted in an engagement. He himself is a user, though he is not sure how to
      describe his current relationship status. "It's complicated," he said.

      A version of this article appears in print on March 30, 2014, on page ST17 of the New York edition with
      the headline: An App Introduces Friends of Friends.




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                     If Tinder Is For Hookups, Hinge Is For Relationships And
                     It Just Raised $4M



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ATTORNEY DOCKET NUMBER                                                            PATENT APPLICATION
076533.0146                                                                            USSN 14/059,192

                                                       1 of2

               IN THE UNITED STATES PATENT AND TRADEMARK OFFICE




In re Application of:              Sean Rad et al.
Serial No.:                        14/059,192
Filing Date:                       October 21, 2013
Group Art Unit:                    2164
Examiner:                          Yuk Ting Choi
Confirmation No.:                  1044
Title:                             MATCHING PROCESS SYSTEM AND METHOD



                             DECLARATION UNDER 37 C.F.R. §1.132


         I, Roshan S. Mansinghani, hereby declare the following:

1.       I am an attorney for the Applicant, Tinder, Inc. ("Tinder").

2.       I understand that Tinder is the sole Assignee of United States Patent Application Serial
         No. 14/059, 192 ("Application").

3.       Attached to Applicant's submission dated October 31, 2016 are Appendix 1 through
         Appendix 10.

4.       Appendix 1 is a printout performed on October 31, 2016 of the following webpage:

                http ://people. com/celebrity/tin der-1 uIu-and-okcup id-your-guide-to-on Iine-dating/

5.       Appendix 2 is a printout performed on October 31, 2016 of the following webpage:

                              http://www. gq. com/story/tinder-online-dating-sex-app

6.       Appendix 3 is a printout performed on October 31, 2016 of the following webpage:

                                  https://techcrunch.com/2015/08/05/linkedtin/
          Case 6:21-cv-00147-ADA Document 15-8 Filed 04/22/21 Page 192 of 192


ATTORNEY DOCKET NUMBER                                                             PATENT APPLICATION
076533.0146                                                                             USSN 14/059,192

                                                         2 of2

7.        Appendix 4 is a printout performed on October 10, 2016 of the following webpage:

                  http://nymag.com/thecut/2013/ 1O/how-tinder-solved-online-dating-for-women.html

8.        Appendix 5 is a printout performed on October 31, 2016 of the following webpage:

                           http://www.elle.com.au/culture/hot-list/201311 O/how-to-use-tinder/

9.        Appendix 6 is a printout performed on October 20, 2016 of the following webpage:

           https ://www.buzzfeed.com/alexkantrowitz/cracking-the-tinder-code-love-in-the-age-of-algorithms

10.       Appendix 7 is a printout performed on October 31, 2016 of the following webpage:

                                               http://www.theleague.com

11.       Appendix 8 is a printout performed on October 31, 2016 of the following webpage:

         http://www. businessinsider. com/we-got-inside-the-tinder-for-elites-heres-what- its-like-to-use-2015-9I

12.       Appendix 9 is a printout performed on September 18, 2016 of the following webpage:

          http://www. nytimes. com/2 0 14/0313 O/fashion/hinge-a-dating-app-introduces-friends-of-friends .html

13.       Appendix 10 is a printout performed on October 31, 2016 of the following webpage:

      https://techcrunch.com/2013/ 11 /04/if-tinder-is-for-hookups-hinge-is-for-relationships-and-it-just-raised-4m/

14.       I hereby declare that all statements made herein of my own knowledge are true and that
          all statements made on information and belief are believed to be true, and further that
          these statements were made with the knowledge that willful false statements and the like
          so made are punishable by fine or imprisonment, or both, under Section 1001 of Title 18
          of the United States Code, and that such willful statements may jeopardize the validity of
          the application or any patent issuing therefrom.




          By:                                                             Date:       10 ~ 5/-1~
                   Roshan S. Mansinghani
